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   Grand Canyon University




               3300 W. Camelback Road
                Phoenix, Arizona 85017




                       Prepared by:

           RP Valuation Group, LLC



            4835 E. Cactus Road, Suite 320
              Scottsdale, Arizona 85254


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                     RP Valuation Group, LLC
                                                                       Paradise Valley Corporate Center
                                                                         4835 E. Cactus Road, Suite 320
                                                                              Scottsdale, Arizona 85254
                                                                                                  Direct




January 19th, 2018

Mr. William Gonzalez
Chairman of the Board of Directors
Gazelle University, Inc.
3300 W. Camelback Road, Building 26
Phoenix, AZ 85017

Re:    Valuation of certain real property on the Grand Canyon University campus in Phoenix, AZ
       RPV File No.: 17RPV031

Dear Mr. Gonzalez:
In fulfillment of Phase 1 of the engagement scope as outlined in the Letter of Engagement dated
November 29th, 2017, we are pleased to transmit our preliminary and DRAFT opinions of Fair Value
on certain real property school assets that are identified herein. Our preliminary and DRAFT report
has been prepared for the nonprofit organization called Gazelle University, Inc. (“Gazelle”) on your
behalf, the primary Intended User and Client. Gazelle management (“Management”) is
contemplating a transaction (the “Proposed Transaction”) in which certain assets of Grand Canyon
Education, Inc. (“GCE”) that relate to the operation of the Grand Canyon University (the “School
Assets”) would be sold to Gazelle with GCE retaining the remaining administrative and service-
related assets (the “Service Assets”).
The purpose of our engagement is to provide our Opinions of the Fair Value (the “Opinion”), a
market based measurement of the GCE real property that represent a portion of the School Assets
as of October 31st, 2017 (the Phase 1 “Valuation Date”). It is our understanding that Management
and their advisors will use the Phase 1 Opinion presented herein for internal Management planning
purposes with respect to the Proposed Transaction.
Distribution of this Phase 1 work product and reliance thereon is restricted to GCE and Gazelle
management, their advisors, and Gallagher & Kennedy, P.A. (Gazelle’s legal counsel). The Phase 1
report is subject to the attached Assumptions and Limiting Conditions and Certification. The Phase 1
report may not be attached to any public documents/filings. Our firm cannot be specifically named
in any filings or other transaction documentation that may be published for any public use/view.
The report may not be used, circulated, quoted, provided to the GCE shareholders or otherwise
referred to or relied upon in whole or in part for any other purpose or by any other party without
our express written consent.

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                                                     RP Valuation Group, LLC
Mr. William Gonzalez
Gazelle University, Inc.
January 19th, 2018
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Our preliminary and DRAFT appraisal employs the (Land) Sales Comparison Approach for the
analysis and valuation of the 230.12-acres of underlying land relative to the Potential Transaction
‘as if vacant’ and available for development. The valuation of the land assumes that it would have
sold in its entirety ‘in bulk’ to a single purchasing entity on the retrospective Date of Value.
Hypothetically, if the land ‘as if vacant’ were to be planned, zoned and subdivided into several
component pieces, the cumulative value might be considerably greater. We have created an aerial
map exhibited two pages hence with the potential transaction property highlighted in purple.
The Cost Approach methodology is applied for the valuation of the multiple building and other
improvements to the land identified as School Assets by the Client that are to be a part of the
Proposed Transaction. The identified improvements are Special Purpose real property that are not
commonly bought, sold or leased on the open market, so the (Improved) Sales Comparison and
Income Capitalization Approaches are not applicable or reasonable valuation methodologies. Again,
please note that the valuation of the individual improvements (buildings, etc.) excludes the value of
land underlying each improvement.
We have developed preliminary and DRAFT Phase 1 opinions on the following page (please refer to
the Executive Summary of Gazelle Fair Values) of the “As Is” Fair Values in fee simple interest as
defined by the 2018-2019 Uniform Standards of Professional Appraisal Practice. Our opinions are
subject to the Assumptions and Limiting Conditions including Extraordinary Assumptions and our
Certification as of the Client-requested, retrospective October 31st, 2017 date of value.
As is common with many Special Purpose properties and coupled with the large size of the Potential
Transaction, significant national/international exposure time would be required that we estimate at
approximately 24 to 48 months.
This letter is invalid as an opinion of value(s) if detached from the Executive Summary of Gazelle Fair
Values, aerial map exhibit, the Assumptions and Limiting Conditions, Certification, and the entire
report Addenda.
Respectfully submitted,
RP Valuation Group, LLC




Dan A. Paulus, MAI, President
Arizona Certified General Appraiser License No. 30234


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                       Executive Summary of Gazelle Fair Values¹

                                        OCT. 31, 2017²
                                         FAIR VALUE
REAL PROPERTY CATEGORY                  CONCLUSION                                NOTES

Bulk Land (@ $3.50 psf)                                       230.12 acres owned land (10,024,047 SF)
Fields, Lawns & Stadiums                                      14 properties
Office Buildings                                               3 properties
Multi-Purpose Buildings                                        8 properties
Classroom Buildings                                           10 properties
Student Apartments                                             9 properties
Student Dormitories                                           12 properties
Parking Structures                                             4 properties
Other Buildings                                                3 properties
I-17 to 27th Ave. Properties                                   4 properties
                                                              A 'Sum-of-the-Retail' Conclusion³

Footnotes:
¹ Fee simple and leased fee real estate improvements & underlying land are valued herein, and are only
those assets identified by GCE as being transferred to Gazelle. The (Land) Sales Comparison Approach has
been used to value the underlying land. Improvements have been valued using only the Cost Approach.
² Date of Fair Value is October 31st, 2017, a retrospective Date of Value as per GCE request. Properties not
yet owned as of that date have been excluded. The Date of Report (DRAFT) is January 19th, 2018.

³ A Sum-of-the-Retail Conclusion does not necessarily represent the Fair Value at which the real estate
portfolio might be hypothetically sold to a single entity. A discount might be demanded by a buyer due to its
bulk size. Inversely, a premium could very well be required by a seller for its assemblage value.

Extraordinary Assumptions:
(A) Real property was physically inspected December 6th through the 20th, 2017; up to 1½ months after the
date of value. Therefore, the Fair Values presented are 'retrospective'. We assume as an Extraordinary
Assumption that the properties were on the date of Inspection generally in the same physical condition as
on the Date of Value. If this assumption is later found to be inaccurate, RP Valuation Group, LLC reserves the
right to alter its conclusions of Fair Value.
(B) Client and GCE have provided considerable data regarding the real estate assets that has been
significantly relied upon by the appraisers. If Client and GCE provided data is found to be incorrect, RP
Valuation Group, LLC reserves the right to adjust its conclusions of Fair Value.

General Notes:
This document is intended to be preliminary, DRAFT, and internal as of January 19th, 2018. It is not
intended nor approved for distribution other than as per the agreed-upon terms in the Letter of Engagement
dated November 29th, 2017 and signed December 5th, 2017 by Client.
The definition of Fair Value is as defined by FAS 157 and subsequently subsumed into ASC 820.
The real property appraiser is identified as Dan A. Paulus, MAI, AZ Certified General Appraiser No. 30234.
Mr. Paulus has complied with the current 2018-2019 USPAP including any future publication of the final
Appraisal Report.

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Aerial Map of GCE Properties that are part of the Proposed Transfer
 (Source: Maricopa Assessor’s Aerial Map with Appraiser Highlights)
                             Best Printed on 11’ x 17’




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                          Assumptions and Limiting Conditions

"Appraisal" means the appraisal report and opinion of value stated therein, to which these
Assumptions and Limiting Conditions are annexed.
"Property" means the subject of the Appraisal. "RPV" means RP Valuation Group, LLC or its
subsidiary which issued the Appraisal. "Appraiser" or “Appraisers” means the employee(s) of RP
Valuation Group, LLC or independent contractors who prepared and signed the Appraisal.

General Assumptions
This appraisal is made subject to the following assumptions and limiting conditions:

1. No opinion is intended to be expressed and no responsibility is assumed for the legal
   description or for any matters which are legal in nature or require legal expertise or
   specialized knowledge beyond that of a real estate appraiser. Title to the Property is
   assumed to be good and marketable and the Property is assumed to be free and clear of all
   liens unless otherwise stated. No survey of the Property was undertaken.
2. The information contained in the Appraisal or upon which the Appraisal is based has been
   gathered from sources the Appraiser assumes to be reliable and accurate. Some of such
   information may have been provided by the owner of the Property. Neither the Appraiser
   nor RPV shall be responsible for the accuracy or completeness of such information,
   including the correctness of opinions, dimensions, sketches, exhibits and factual matters.
3. The opinion of value is only as of the date stated in the Appraisal. Changes since that date in
   external and market factors or in the Property itself can significantly affect property value.
4. The Appraisal is to be used in whole and not in part. No part of the Appraisal shall be used
   in conjunction with any other appraisal. Publication of the Appraisal or any portion thereof
   without the prior written consent of RPV is prohibited. Except as may be otherwise stated in
   the letter of engagement, the Appraisal may not be used by any person other than the party
   to whom it is addressed or for purposes other than that for which it was prepared. No part
   of the Appraisal shall be conveyed to the public through advertising, or used in any sales or
   promotional material without RPV prior written consent. Reference to the Appraisal
   Institute or to the MAI designation is prohibited.
5. Except as may be otherwise stated in the letter of engagement, the Appraiser shall not be
   required to give testimony in any court or administrative proceeding relating to the
   Property or the Appraisal.
6. The Appraisal assumes (a) responsible ownership and competent management of the
   Property; (b) there are no hidden or unapparent conditions of the Property, subsoil or
   structures that render the Property more or less valuable (no responsibility is assumed for
   such conditions or for arranging for engineering studies that may be required to discover
   them); (c) full compliance with all applicable federal, state and local zoning and
   environmental regulations and laws, unless noncompliance is stated, defined and analyzed
   in the Appraisal; and (d) all required licenses, certificates of occupancy and other
   governmental consents have been or can be obtained and renewed for any use on which
   the value opinion contained in the Appraisal is based.
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7. The physical condition of the improvements analyzed within the Appraisal is based on visual
   inspection by the Appraiser or other person identified in the Appraisal. RPV assumes no
   responsibility for the soundness of structural members nor for the condition of mechanical
   equipment, plumbing or electrical components.
8. The projected potential gross income referred to in the Appraisal may be based on lease
   summaries provided by the owner or third parties. The Appraiser has also reviewed lease
   documents, but assumes no responsibility for the authenticity or completeness of lease
   information provided by others. RPV recommends that legal advice be obtained regarding
   the interpretation of lease provisions and the contractual rights of parties.
9. The projections of income and expenses are not predictions of the future. Rather, they are
   the Appraiser's opinion of current market thinking on future income and expenses. The
   Appraiser and RPV make no warranty or representation that these projections will
   materialize. The real estate market is constantly fluctuating and changing. It is not the
   Appraiser's task to predict or in any way warrant the conditions of a future real estate
   market; the Appraiser can only reflect what the investment community, as of the date of
   the Appraisal, envisages for the future in terms of rental rates, expenses, supply and
   demand.
10. Unless otherwise stated in the Appraisal, the existence of potentially hazardous or toxic
    materials which may have been used in the construction or maintenance of the
    improvements or may be located at or about the Property was not analyzed in arriving at
    the opinion of value. These materials (such as formaldehyde foam insulation, asbestos
    insulation and other potentially hazardous materials) may adversely affect the value of the
    Property. The Appraisers are not qualified to detect such substances. RPV recommends that
    an environmental expert be employed to determine the impact of these matters on the
    opinion of value.
11. The author of this report is not qualified to comment on environmental issues that may
    affect the market value of the property appraised, including but not limited to pollution or
    contamination of land, buildings, water, groundwater or air. Unless expressly stated, the
    property is assumed to be free and clear of pollutants and contaminants, including but not
    limited to molds or mildews or the conditions that might give rise to either, and in
    compliance with all environmental condition, past, present, or future, that might affect the
    market value of the property appraised. If the party relying on this report requires
    information about environmental issues then that party is cautioned to retain an expert
    qualified in such issues. We expressly deny any legal liability relating to the effect of
    environmental issues on the market value of the property being appraised.
12. Unless otherwise stated in the Appraisal, compliance with the requirements of the
    Americans with Disabilities Act of 1990 (ADA) has not been analyzed in arriving at the
    opinion of value. Failure to comply with the requirements of the ADA may adversely affect
    the value of the property. RPV recommends that an expert in this field be employed.
13. Additional work requested by the client beyond the scope of this assignment will be billed
    at our prevailing hourly rate. Preparation for court testimony, update valuations, additional
    research, depositions, travel or other proceedings will be billed at our prevailing hourly rate,
    plus reimbursement of expenses.


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14. The reader acknowledges that RPV has been retained hereunder as an independent
    contractor to perform the services described herein and nothing in this agreement shall be
    deemed to create any other relationship between us. This assignment shall be deemed
    concluded and the services hereunder completed upon delivery to you of the appraisal
    report discussed herein.
15. This study has not been prepared for use in connection with litigation and this document is
    not suitable for use in a litigation action. Accordingly, no rights to expert testimony, pretrial
    or other conferences, deposition, or related services are included with this appraisal. If, as a
    result of this undertaking, RPV or any of its principals, its appraisers or consultants are
    requested or required to provide any litigation services, such shall be subject to the
    provisions of the RPV engagement letter or, if not specified therein, subject to the
    reasonable availability of RPV and/or said principals or appraisers at the time and shall
    further be subject to the party or parties requesting or requiring such services paying the
    then-applicable professional fees and expenses of RPV either in accordance with the
    provisions of the engagement letter or arrangements at the time, as the case may be.
Extraordinary Assumptions
An extraordinary assumption is defined as “an assumption, directly related to a specific
engagement, as of the effective date of the engagement results, which, if found to be false,
could alter the appraiser’s opinions or conclusions”. Extraordinary assumptions presume as fact
otherwise uncertain information about physical, legal or economic characteristics of the subject
property or about conditions external to the property, such as market conditions or trends, or
the integrity of data used in an analysis. (USPAP 2018-2019 Edition, ASB of The Appraisal
Foundation). (A) Real property was physically inspected December 6th through the 20th,
2017; up to 1½ months after the date of value. Therefore, the Fair Values presented are
'retrospective'. We assume as an Extraordinary Assumption that the properties were on the
date of Inspection generally in the same physical condition as on the Date of Value. If this
assumption is later found to be inaccurate, RP Valuation Group, LLC reserves the right to alter
its conclusions of Fair Value. (B) Client and GCE have provided considerable data regarding
the real estate assets that have been significantly relied upon by the appraisers. If Client and
GCE-provided data is found to be incorrect, RP Valuation Group, LLC reserves the right to
adjust its conclusions of Fair Value.

Hypothetical Conditions

A hypothetical condition is defined as “a condition related to a specific engagement which is
contrary to what is known by the appraiser to exist on the effective date of the engagement
results, but is used for the purpose of analysis”. Hypothetical conditions are contrary to known
facts about physical, legal, or economic characteristics of the subject property or about
conditions external to the property, such as market conditions or trends, or the integrity of data
used in an analysis.” (USPAP 2018-2019 Edition, ASB of The Appraisal Foundation). This
appraisal assumes no hypothetical conditions.



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                                  Certification of Appraisal


We certify that, to the best of our knowledge and belief:

1. The statements of fact contained in this report are true and correct.
2. The reported analyses, opinions, and conclusions are limited only by the reported
   assumptions and limiting conditions, and are our personal, impartial, and unbiased
   professional analyses, opinions, and conclusions.
3. We have no present or prospective interest in the property that is the subject of this report,
   and no personal interest with respect to the parties involved.
4. We have no bias with respect to the property that is the subject of this report or to the
   parties involved with this assignment.
5. Our engagement in this assignment was not contingent upon developing or reporting
   predetermined results.
6. Our compensation for completing this assignment is not contingent upon the development
   or reporting of a predetermined value or direction in value that favors the cause of the
   client, the amount of the value opinion, the attainment of a stipulated result, or the
   occurrence of a subsequent event directly related to the intended use of this appraisal.
7. Our analyses, opinions, and conclusions were developed, and this report has been
   prepared, in conformity with the Code of Professional Ethics and Standards of Professional
   Appraised Practice of the Appraisal Institute, which include the Uniform Standards of
   Professional Appraisal Practice.
8. Dan A. Paulus made a personal inspection of the properties that are the subject of this report.
9. No one provided significant real property appraisal assistance to the persons signing this
   report.
10. The undersigned has previously researched and analyzed, but not completed an appraisal
    on the subject within the past three years (November 2014 through January 2015).
11. The use of this report is subject to the requirements of the Appraisal Institute relating to
    review by its duly authorized representatives.
12. As of the date of this report, Dan A. Paulus, MAI has completed the continuing education
    program of the Appraisal Institute.




Dan A. Paulus, MAI, President
Arizona Certified General Appraiser License No. 30234


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                         Addenda Contents

ADDENDUM A:             Fields, Lawns & Stadiums
ADDENDUM B:             Office Buildings
ADDENDUM C:             Multi-Purpose Buildings
ADDENDUM D:             Classroom Buildings
ADDENDUM E:             Student Apartments
ADDENDUM F:             Student Dormitories
ADDENDUM G:             Parking Structures
ADDENDUM H:             Other Buildings
ADDENDUM I:             I-17 to 27th Avenue Properties
ADDENDUM J:             Professional Qualifications of Dan A. Paulus, MAI




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                                  ADDENDUM A:
                          Fields, Lawns & Stadiums

         Summary of Fields, Lawns & Stadiums Fair Value Conclusions per Cost
         Approach
                       (excluding market value of underlying land)

                                                                    10/31/2017
                                                                   Value of Site
                                                      Land SF     Improvements
         A - Bazell Baseball Field/Stadium              123,365
         B - Track & Field                               77,000
         C - Softball Stadium/Field                      45,816
         D - Soccer Stadium                             121,840
         E - Prescott Field                             108,335
         F - Quad                                        57,832
         G & J - Beach Volleyball Stadium & Courts       79,600
         H - Grove Fields                               149,580
         I - Colter Field                               189,240
         K - Tennis Courts + two BB courts               47,600
         L - Basketball Courts                           16,560
         N - Baseball Practice Field                     45,500
             Main Campus Site Improvements            5,328,480
             Off Campus Site Improvements             3,633,299
                                                     10,024,047




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          COST APPROACH SUMMARY: A - BRAZELL BASEBALL FIELD (under major expansion)
                                                                           Gross                                     Total
Replacement Cost New (RCN)                                                 SqFt       $/SqFt         Total           Cost
  Site & Structure Improvements
     Site preparation and landscaping                                    123,365
     Irrigation system                                                   123,365
     Bleachers-permanent w/elevator, press box & concession stand        32,280
     Perimeter fencing -linear feet                                       1,511
     Electronic scoreboard                                                  1
     Stadium baseball netting                                               1
     Stadium pole lighting (x 8) @ 50', mercury vapor                       8
     Batting cage; steel post w/corrugated steel canopy, netting           700
     Steel canopy-20' steel poles, corrugated steel roof, concr. base     3,000
        Subtotal

  Multipliers
    Current Cost                                                                        1.030
    Local Area                                                                          0.946
    Product of Multipliers                                                                            x 0.974
  Adjusted Base Cost = Total Direct Costs
    Plus: Other Indirect Costs (% of Direct Costs)                           11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                                  10.0%
  Total Replacement Cost New ( RCN )


Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                            0 Years @ 10/31/17
    Total Economic Life (Years):                                     25 Years
    Total Physical Depreciation:                                         0.0%
  Functional Obsolescence                                                0.0%
  External Obsolescence                                                  0.0%
Total                                                                    0.0%
Percentage complete on 10/31/17 per GCE Scott Doering                                                                     70.00%
Depreciated Value of the Site Improvements excluding underlying Land
  Rounded to nearest $10,000                                           2
Source: Marshall Valuation Service - November 2017                      Section: 66    Quality: Average
                                                                        Page: 5        Class: N/Ap - used Combined
                                                                        Date: 11/17    Type:    Recreational Facilities




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                                 COST APPROACH SUMMARY: B - TRACK & FIELD
                                                                       Gross                                     Total
Replacement Cost New (RCN)                                             SqFt       $/SqFt         Total           Cost
  Site & Structure Improvements
     Site preparation and landscaping                                 77,000
     Irrigation system                                                77,000
     Portable bleachers-aluminum                                       1,300
     4" rock base & 4" asphalt base for tartan track                  55,440
     Tartan track (8 oval lanes)                                      55,440
     Stadium lighting (6 light sets on 6 steel poles 50')
     Electronic scoreboard                                               1
     4' chain link fence perimeter                                     1,136
        Subtotal

  Multipliers
    Current Cost                                                                    1.030
    Local Area                                                                      0.946
    Product of Multipliers                                                                        x 0.974
  Adjusted Base Cost = Total Direct Costs
    Plus: Other Indirect Costs (% of Direct Costs)                       11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                              10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                              6 Years @ 10/31/17
    Total Economic Life (Years):                                       25 Years
    Total Physical Depreciation:                                         24.0%
  Functional Obsolescence                                                  0.0%
  External Obsolescence                                                    0.0%
Total                                                                    24.0%
Depreciated Value of the Site Improvements excluding the underlying Land
  Per Square Foot (based on gross area)
  Rounded to nearest $1,000                                         2
Source: Marshall Valuation Service - November 2017                  Section: 66    Quality: Good
                                                                    Page: 6        Class: N/Ap - used Combined
                                                                    Date: 11/17    Type:    Recreational Facilities




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                 COST APPROACH SUMMARY: C - SOFTBALL FIELD (under major expansion)
                                                                      Gross                                     Total
Replacement Cost New (RCN)                                            SqFt       $/SqFt         Total           Cost
  Site & Structure Improvements
     Site preparation and landscaping                                45,816
     Irrigation system                                               45,816
     Bleachers-permanent w/concession stand, bathrooms, pressbox     30,000
     Stadium pole lighting (x 4) @ 50', mercury vapor
     Perimeter fencing, netting                                       1,500
     Tuff shed storage buildings                                       480
     Two batting cages                                                 720
     Scoreboard - electronic                                            1
        Subtotal

  Multipliers
    Current Cost                                                                    1.030
    Local Area                                                                      0.946
    Product of Multipliers                                                                       x 0.974
  Adjusted Base Cost = Total Direct Costs
    Plus: Other Indirect Costs (% of Direct Costs)                      11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                             10.0%
  Total Replacement Cost New ( RCN )

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                              0 Years @ 10/31/17
    Total Economic Life (Years):                                       25 Years
    Total Physical Depreciation:                                           0.0%
  Functional Obsolescence                                                  0.0%
  External Obsolescence                                                    0.0%
Total                                                                      0.0%
Percentage complete on 10/31/17 per GCE Scott Doering                                                                43.00%
Depreciated Value of the Site Improvements excluding the underlying Land
  Rounded to nearest $10,000                                             3

Source: Marshall Valuation Service - November 2017                 Section: 66    Quality: Good
                                                                   Page: 5        Class: N/Ap - used Combined
                                                                   Date: 11/17    Type:    Recreational Facilities




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                        COST APPROACH SUMMARY: D - SOCCER STADIUM & FIELD
                                                                    Gross                                     Total
Replacement Cost New (RCN)                                          SqFt       $/SqFt         Total           Cost
  Site & Structure Improvements
     Site preparation and landscaping                             121,840
     Irrigation system                                            121,840
     Bleachers-permanent w/press box & concession stand           28,900
     Stadium lighting (6 light sets on 6 steel poles 50')            4
     Electronic scoreboard                                           1
     4' chain link fence perimeter                                 1,136
        Subtotal

  Multipliers
    Current Cost                                                                 1.030
    Local Area                                                                   0.946
    Product of Multipliers                                                                     x 0.974
  Adjusted Base Cost = Total Direct Costs
    Plus: Other Indirect Costs (% of Direct Costs)                    11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                           10.0%
  Total Replacement Cost New ( RCN )

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                           2 Years @ 10/31/17
    Total Economic Life (Years):                                    25 Years
    Total Physical Depreciation:                                        8.0%
  Functional Obsolescence                                               0.0%
  External Obsolescence                                                 0.0%
Total                                                                   8.0%
Depreciated Value of the Site Improvements excluding the underlying Land
  Rounded to nearest $10,000                                        2
Source: Marshall Valuation Service - November 2017               Section: 66    Quality: Good
                                                                 Page: 6        Class: N/Ap - used Combined
                                                                 Date: 11/17    Type:    Recreational Facilities




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                              COST APPROACH SUMMARY: E - PRESCOTT FIELD
                                                                     Gross                                     Total
Replacement Cost New (RCN)                                           SqFt       $/SqFt         Total           Cost
  Site & Structure Improvements
     Site preparation and landscaping                              108,335
     Artificial turf                                               108,335
     Perimeter concrete curbing (per linear foot) & planters        1,420
     Football posts (pair)                                            1
     Stadium lighting on 6 x 30' poles, mercury vapor                 1
        Subtotal

  Multipliers
    Current Cost                                                                  1.030
    Local Area                                                                    0.946
    Product of Multipliers                                                                      x 0.974
  Adjusted Base Cost = Total Direct Costs
    Plus: Other Indirect Costs (% of Direct Costs)                     11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                            10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                            5 Years @ 10/31/17
    Total Economic Life (Years):                                     25 Years
    Total Physical Depreciation:                                       20.0%
  Functional Obsolescence                                                0.0%
  External Obsolescence                                                  0.0%
Total                                                                  20.0%
Depreciated Value of the Site Improvements excluding the underlying Land
  Per Square Foot (based on gross area)
  Rounded to nearest $10,000                                        3
Source: Marshall Valuation Service - November 2017                Section: 66    Quality: Good
                                                                  Page: 5        Class: N/Ap - used Combined
                                                                  Date: 11/17    Type:    Recreational Facilities




                                                      AR-C-0562
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                                 COST APPROACH SUMMARY: F - QUAD LAWN
                                                                    Gross                                   Total
Replacement Cost New (RCN)                                          SqFt       $/SqFt        Total          Cost
  Site & Structure Improvements
     Site preparation and landscaping                              57,832
     Irrigation system                                             57,832
     Concrete edging & planters (per linear ft.)                    968
     Stadium lighting-perimeter (x 8); 30' poles/mercury vapor        8
        Subtotal

  Multipliers
    Current Cost                                                                 1.030
    Local Area                                                                   0.946
    Product of Multipliers                                                                     x 0.974
  Adjusted Base Cost - Total Direct Costs
    Plus: Other Indirect Costs (% of Direct Costs)                    11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                           10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                          17 Years @ 12/31/17
    Total Economic Life (Years):                                    25 Years
    Total Physical Depreciation:                                      68.0%
  Functional Obsolescence                                               0.0%
  External Obsolescence                                                 0.0%
Total                                                                 68.0%

Depreciated Value of theSite Improvements excluding the underlying Land
  Per Square Foot (based on gross area)
  Rounded to nearest $10,000                                       3
Source: Marshall Valuation Service - November 2017               Section: 66    Quality: Good
                                                                 Page: 5        Class: N/Ap - used Combined
                                                                 Date: 11/17    Type:    Recreational Facility




                                                     AR-C-0563
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COST APPROACH SUMMARY: G - VOLLEYBALL STADIUM/COURTS and J - BEACH VOLLEYBALL COURTS
                                                                  Gross                                   Total
Replacement Cost New (RCN)                                        SqFt       $/SqFt        Total          Cost
  Site & Structure Improvements
     Site preparation - 4 Beach Volleyball Courts                 19,000
     Site preparation - Volleyball Stadium & 7 Courts             43,700
     Site preparation - Canyon Field S. of Stadium/Courts         16,900
     Bleachers w/seating for 1,300 spectators                     1,300
     Artifical turf on field S. of courts/stadium                 16,900
     Eleven (11) volleyball courts                                  11
     Stadium lighting (x 6); 25' poles, mercury vapor               6
        Subtotal

  Multipliers
    Current Cost                                                               1.030
    Local Area                                                                 0.946
    Product of Multipliers                                                                   x 0.974
  Adjusted Base Cost = Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                    11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                          10.0%
  Total Replacement Cost New ( RCN )

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                         1 Years @ 10/31/17
    Total Economic Life (Years):                                  25 Years
    Total Physical Depreciation:                                      4.0%
  Functional Obsolescence                                             0.0%
  External Obsolescence                                               0.0%
Total                                                                 4.0%

Depreciated Value of the Improvements excluding the underlying Land
  Rounded to nearest $10,000                                        3
Source: Marshall Valuation Service - November 2017            Section: 66     Quality: Good
                                                              Page: 5         Class: N/Ap - used Combined
                                                              Date: 11/17     Type:    Recreational Facility




                                                      AR-C-0564
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                 COST APPROACH SUMMARY: H - GROVE FIELDS (two intramural fields)
                                                                      Gross                                     Total
Replacement Cost New (RCN)                                            SqFt       $/SqFt         Total           Cost
  Site & Structure Improvements
     Site preparation and landscaping                               149,580
     Artificial turf                                                149,580
     Perimeter concr. Curb (per LF) & 4' chain link fencing          1,849
     N/S sidewalk/planters bisecting field                           4,362
     Stadium lighting on 10 x 30' poles, mercury vapor                10
        Subtotal

  Multipliers
    Current Cost                                                                   1.030
    Local Area                                                                     0.946
    Product of Multipliers                                                                       x 0.974
  Adjusted Base Cost = Total Direct Costs
    Plus: Other Indirect Costs (% of Direct Costs)                      11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                             10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                             2 Years @ 10/31/17
    Total Economic Life (Years):                                      25 Years
    Total Physical Depreciation:                                          8.0%
  Functional Obsolescence                                                 0.0%
  External Obsolescence                                                   0.0%
Total                                                                     8.0%
Depreciated Value of the Site Improvements excluding the underlying Land
  Per Square Foot (based on gross area)
  Rounded to nearest $10,000                                        3
Source: Marshall Valuation Service - November 2017                 Section: 66    Quality: Good
                                                                   Page: 5        Class: N/Ap - used Combined
                                                                   Date: 11/17    Type:    Recreational Facilities




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               COST APPROACH SUMMARY: I - COLTER FIELDS (three intramural fields)
                                                                       Gross                                     Total
Replacement Cost New (RCN)                                             SqFt       $/SqFt         Total           Cost
  Site & Structure Improvements
     Site preparation and landscaping                                189,240
     Artificial turf                                                 189,240
     Perimeter 6' fencing                                             1,742
     Stadium lighting on 8 x 30' poles, mercury vapor                   8
        Subtotal

  Multipliers
    Current Cost                                                                    1.030
    Local Area                                                                      0.946
    Product of Multipliers                                                                        x 0.974
  Adjusted Base Cost = Total Direct Costs
    Plus: Other Indirect Costs (% of Direct Costs)                       11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                              10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                              1 Years @ 10/31/17
    Total Economic Life (Years):                                       25 Years
    Total Physical Depreciation:                                           4.0%
  Functional Obsolescence                                                  0.0%
  External Obsolescence                                                    0.0%
Total                                                                      4.0%
Depreciated Value of the Site Improvements excluding the underlying Land
  Per Square Foot (based on gross area)
  Rounded to nearest $10,000                                        3
Source: Marshall Valuation Service - November 2017                  Section: 66    Quality: Good
                                                                    Page: 5        Class: N/Ap - used Combined
                                                                    Date: 11/17    Type:    Recreational Facilities




                                                        AR-C-0566
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                          COST APPROACH SUMMARY: K - TENNIS COURTS (outdoor)
                                                                       Gross                                     Total
Replacement Cost New (RCN)                                             SqFt       $/SqFt         Total           Cost
  Site & Structure Improvements
     Six tennis courts w/covered concourse & storage                     6
     with Plexiwave IW surfacing                                      47,600
     Two basketball courts                                               2        $
     Perimeter fencing (included above)                                1,098
     Stadium lighting on 6 x 30' poles, mercury vapor                    6
       Subtotal

  Multipliers
    Current Cost                                                                      1.030
    Local Area                                                                        0.946
    Product of Multipliers                                                                        x 0.974
  Adjusted Base Cost = Total Direct Costs
    Plus: Other Indirect Costs (% of Direct Costs)                       11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                              10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                              1 Years @ 10/31/17
    Total Economic Life (Years):                                       20 Years
    Total Physical Depreciation:                                           5.0%
  Functional Obsolescence                                                  0.0%
  External Obsolescence                                                    0.0%
Total                                                                      5.0%
Depreciated Value of the Site Improvements excluding the underlying Land
  Per Square Foot (based on gross area)
  Rounded to nearest $10,000                                             3
Source: Marshall Valuation Service - November 2017                  Section: 66    Quality: Good
                                                                    Page: 5        Class: N/Ap - used Combined
                                                                    Date: 11/14    Type:    Recreational Facilities




                                                        AR-C-0567
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          COST APPROACH SUMMARY: L - BASKETBALL COURTS (two intramural outdoor)
                                                                    Gross                                     Total
Replacement Cost New (RCN)                                          SqFt       $/SqFt         Total           Cost
  Site & Structure Improvements
     Two outdoor basketball courts including posts/hoops             2
     Perimeter fencing in LF                                        470
     Stadium lighting on 2 x 30' poles, mercury vapor                2
       Subtotal

  Multipliers
    Current Cost                                                                 1.030
    Local Area                                                                   0.946
    Product of Multipliers                                                                     x 0.974
  Adjusted Base Cost = Total Direct Costs
    Plus: Other Indirect Costs (% of Direct Costs)                    11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                           10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                           2 Years @ 10/31/17
    Total Economic Life (Years):                                    25 Years
    Total Physical Depreciation:                                        8.0%
  Functional Obsolescence                                               0.0%
  External Obsolescence                                                 0.0%
Total                                                                   8.0%
Depreciated Value of the Site Improvements excluding the underlying Land
  Per Square Foot (based on gross area)
  Rounded to nearest $10,000                                        3
Source: Marshall Valuation Service - November 2017               Section: 66    Quality: Good
                                                                 Page: 5        Class: N/Ap - used Combined
                                                                 Date: 11/17    Type:    Recreational Facilities




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                        COST APPROACH SUMMARY: N - BASEBALL PRACTICE FIELD
                                                                    Gross                                     Total
Replacement Cost New (RCN)                                          SqFt       $/SqFt         Total           Cost
  Site & Structure Improvements
     Site preparation and landscaping                              45,500
     Irrigation system                                             45,500
     8' chain link fence perimeter/netting                          810
        Subtotal

  Multipliers
    Current Cost                                                                 1.030
    Local Area                                                                   0.946
    Product of Multipliers                                                                     x 0.974
  Adjusted Base Cost = Total Direct Costs
    Plus: Other Indirect Costs (% of Direct Costs)                    11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                           10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                           6 Years @ 10/31/17
    Total Economic Life (Years):                                    25 Years
    Total Physical Depreciation:                                      24.0%
  Functional Obsolescence                                               0.0%
  External Obsolescence                                                 0.0%
Total                                                                 24.0%
Depreciated Value of the Site Improvements excluding the underlying Land
  Per Square Foot (based on gross area)
  Rounded to nearest $10,000                                        2
Source: Marshall Valuation Service - November 2017               Section: 66    Quality: Good
                                                                 Page: 6        Class: N/Ap - used Combined
                                                                 Date: 11/17    Type:    Recreational Facilities




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                       COST APPROACH SUMMARY: Main Campus Site Improvements
                                                                         Gross                                     Total
Replacement Cost New (RCN)                                                SqFt      $/SqFt         Total           Cost
  Site & Structure Improvements
     Site prep. (less bldg footprint, Lawns, Fields, Courts)            3,188,075
     Landscaping (70% of sq. ft. excl. bldg footprint, Lawns, etc.)     2,231,653
     Irrigation, bubbler system (70% of sq. ft. less bldg. footprint) 2,231,653
     Interior streets, prkg lots, walks (15% of sq. ft. less footprint)   478,211
     Perimeter fencing & gates-main campus (linear ft.)                    11,454
     Sidewalks (concrete & pavers), campus lighting (10% of sq. ft.) 318,808
        Subtotal

  Multipliers
    Current Cost                                                                      1.030
    Local Area                                                                        0.946
    Product of Multipliers                                                                          x 0.974
  Adjusted Base Cost = Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                         11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                               10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                               3 Years @ 10/31/17
    Total Economic Life (Years):                                        25 Years
    Total Physical Depreciation:                                          12.0%
  Functional Obsolescence                                                   0.0%
  External Obsolescence                                                     0.0%
Total                                                                     12.0%

Depreciated Value of the Site Improvements excluding the underlying Land
  Per Square Foot (based on gross area)
  Rounded to nearest $10,000                                        3

Source: Marshall Valuation Service - November 2017                  Section: 66      Quality: Good
                                                                    Page: 6          Class: N/Ap - used Combined
                                                                    Date: 11/14      Type:    Recretaional Facilities




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                             COST APPROACH SUMMARY: Off Campus Site Improvements

                                                                                Gross Land                                     Total
Replacement Cost New (RCN)                                                        Sq. Ft.       $/SqFt         Total           Cost

  Site Improvements (excavation, gravel, paving, fencing, etc.), Assumes 50% of land is raw/non-utilized:

    Site prep. (less bldg footprint, Lawns, Fields, Courts)                       1,296,264
    Landscaping and/or gravel Surface Parking Lots (50% of sq. ft. excl.
    bldg footprint, lawns, etc.)                                                  1,296,264
    Irrigation, bubbler system (10% of sq. ft. less bldg. footprint)                259,253
    Interior streets, prkg lots, walks (15% of sq. ft. less bldg. footprint)        388,879
    Perimeter fencing & gates-main campus (linear ft.)                               11,720
    Sidewalks (concrete & pavers), campus lighting (10% of sq. ft.)                 259,253
       Subtotal

  Multipliers
    Current Cost                                                                                  1.030
    Local Area                                                                                    0.946
    Perimeter                                                                                     1.000
    Building Height                                                                               1.000
    Product of Multipliers                                                                                      x 0.974
  Adjusted Base Cost = Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                                       11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                                             10.0%
  Total Replacement Cost New ( RCN )
  Physical Deterioration
    Effective Age (Years):                                                          2 Years @ 12/31/17
    Total Economic Life (Years):                                                   25 Years
    Total Physical Depreciation:                                                       8.0%
  Functional Obsolescence                                                              0.0%
  External Obsolescence                                                                0.0%
Total                                                                                  8.0%

Depreciated Value of the Site Improvements excluding the underlying Land
  Per Square Foot (based on gross area)
  Rounded to nearest $10,000                                                        3

Source: Marshall Valuation Service - November 2017                             Section: 66       Quality: Good
                                                                               Page: 6           Class: N/Ap - used Combined
                                                                               Date: 11/17       Type:    Recretaional Facilities




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                                    ADDENDUM B:
                                    Office Buildings

                                           GCU Offices

                                                         10/31/2017
                                                         Fair Value
                                                         Conclusion
                       23 - Academic Affairs
                       25 - Kaibab Enrollment Center
                       26 - Student Life Building




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                       COST APPROACH SUMMARY: 23 - ACADEMIC AFFAIRS OFFICE
                                                                    Gross                                    Total
Replacement Cost New (RCN)                                          SqFt       $/SqFt        Total           Cost
  Building Improvements
    Administrative Office Building Base Cost                       13,400
    Sprinklers-Wet (not in Base)                                   13,400
    HVAC in Base is Moderate Climate. Upgrade to Extreme.          13,400
    Elevator (1)
      Subtotal

  Multipliers
    Current Cost                                                                 1.050
    Local Area                                                                   0.940
    Perimeter                                                                    1.000
    Building Height                                                              1.000
    Product of Multipliers                                                                     x 0.987
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                      11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                            10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                          25 Years @ 10/31/17
    Total Economic Life (Years):                                    45 Years
    Total Physical Depreciation:                                      55.6%
  Functional Obsolescence                                               0.0%
  External Obsolescence                                                 0.0%
Total                                                                 55.6%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)



Indicated Value by Cost Approach
                                    Rounded to nearest $10,000        3
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - February 2017               Section: 18    Quality: Average
                                                                 Page: 32       Class: C
                                                                 Date: 2/17     Type:    Administrative Office




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                    COST APPROACH SUMMARY: 25 - KAIBAB ENROLLMENT CENTER
                                                                    Gross                                    Total
Replacement Cost New (RCN)                                          SqFt       $/SqFt        Total           Cost
  Building Improvements
    Administrative Office Base Cost incl. Package AC               24,640
    Sprinklers-Wet (not in Base)                                   24,640
    HVAC in Base is Moderate Climate. Upgrade to Extreme.          24,640
    Elevator (1)                                                      1
      Subtotal

  Multipliers
    Current Cost                                                                 1.050
    Local Area                                                                   0.940
    Perimeter                                                                    1.000
    Building Height                                                              1.000
    Product of Multipliers                                                                     x 0.987
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                      11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                            10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                          35 Years @ 10/31/17
    Total Economic Life (Years):                                    45 Years
    Total Physical Depreciation:                                      77.8%
  Functional Obsolescence                                               0.0%
  External Obsolescence                                                 0.0%
Total                                                                 77.8%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)



Indicated Value by Cost Approach
                                    Rounded to nearest $10,000        3
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - February 2017               Section: 18    Quality: Average
                                                                 Page: 32       Class: C
                                                                 Date: 2/17     Type:    Administrative Office




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                        COST APPROACH SUMMARY: 26 - STUDENT LIFE BUILDING
                                                                    Gross                                    Total
Replacement Cost New (RCN)                                          SqFt       $/SqFt        Total           Cost
  Building Improvements
    Administrative Office Building Base Cost                       65,962
    Add for 4th floor                                                              1.05              1.05
      Subtotal
    Sprinklers-Wet (not in Base)                                   65,962
    Add for Moderate up to Extreme HVAC                            65,962
    Elevator (1)                                                      2
      Subtotal

  Multipliers
    Current Cost                                                                 1.050
    Local Area                                                                   0.940
    Perimeter                                                                    1.000
    Building Height                                                              1.000
    Product of Multipliers                                                                     x 0.987
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                      11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                            10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                           1 Years @ 10/31/17
    Total Economic Life (Years):                                    45 Years
    Total Physical Depreciation:                                        2.2%
  Functional Obsolescence                                               0.0%
  External Obsolescence                                                 0.0%
Total                                                                   2.2%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)



Indicated Value by Cost Approach
                                    Rounded to nearest $10,000        2
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - November 2014               Section: 18    Quality: Average
                                                                 Page: 32       Class: C
                                                                 Date: 2/13     Type:    Administrative Office




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                                    ADDENDUM C:
                              Multi-Purpose Building

                              GCU Multipurpose Buildings

                                                          10/31/2017
                                                          Fair Value
                                                          Conclusion
                       2 - Colangelo Museum/BB Practice
                           Courts/Coaches Offices
                      11 - Thunder Alley
                      12 - Lopes Performance Cntr
                      21 - Ethington Theater
                      22S - Antelope Gymnasium
                      22N - North Lecture Hall
                      29 - Student Union
                      38 - Antelope Arena




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     COST APPROACH SUMMARY: 2 - COLANGELO MUSEUM & BB PRACTICE STADIUM/OFFICES
                                                                    Gross                              Total
Replacement Cost New (RCN)                                          SqFt       $/SqFt       Total      Cost
  Building Improvements
    Gymnasium Base Cost                                            24,000
    Sprinklers-Wet (not in Base)                                   24,000
    Elevator (1)                                                      1
      Subtotal

  Multipliers
    Current Cost                                                                 1.050
    Local Area                                                                   0.940
    Perimeter                                                                    1.000
    Building Height                                                              1.000
    Product of Multipliers                                                                   x 0.987
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                      11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                            10.0%
  Total Replacement Cost New ( RCN )

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                           1 Years @ 10/31/17
    Total Economic Life (Years):                                    45 Years
    Total Physical Depreciation:                                        2.2%
  Functional Obsolescence                                               0.0%
  External Obsolescence                                                 0.0%
Total                                                                   2.2%
Depreciated Value of the Improvements


Indicated Value by Cost Approach
                                    Rounded to nearest $10,000        3
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - February 2017               Section: 18    Quality: Excellent
                                                                 Page: 25       Class: C
                                                                 Date: 2/17     Type:    Gymnasiums




                                                     AR-C-0577
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       COST APPROACH SUMMARY: 11 - THUNDER ALLEY FOOD COURT AND BOWLING ALLEY
                                                                     Gross                                    Total
Replacement Cost New (RCN)                                           SqFt       $/SqFt         Total          Cost
  Building Improvements
    Fabric Roof Structure Base Cost                                 14,000
    Excavation and Site Preparation                                 14,000
    Foundation; Good Class C, bearing wall                          24,298
    Frame; concrete reinforced Class B                              14,000
    Floor Structure-concrete elevated flat slab and joists          14,000
    Plumbing                                                        24,298
    HVAC                                                            24,298
    Electrical and Lighting                                         24,298
    Interior Partitioning                                           24,298
    Carpet/resilient flooring/ceramic tile                          24,298
    Elevator (1)                                                       1
    Bowling Alley - 6 lanes                                            6
    Sprinklers-Wet (not in Base)                                    24,298
      Subtotal

  Multipliers
    Current Cost                                                                  1.050
    Local Area                                                                    0.940
    Perimeter                                                                     1.000
    Building Height                                                               1.000
    Product of Multipliers                                                                      x 0.987
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                       11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                             10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                            6 Years @ 10/31/17
    Total Economic Life (Years):                                     30 Years
    Total Physical Depreciation:                                       20.0%
  Functional Obsolescence                                                0.0%
  External Obsolescence                                                  0.0%
Total                                                                  20.0%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)



Indicated Value by Cost Approach
                                    Rounded to nearest $10,000         3
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - March 2017                   Section: 57    Quality: Average
                                                                  Page: 6        Class: N/A
                                                                  Date: 3/17     Type:    Fabric Roof Structures


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                    COST APPROACH SUMMARY: 12 - LOPES PERFORMANCE CENTER
                                                                    Gross                                   Total
Replacement Cost New (RCN)                                          SqFt       $/SqFt       Total           Cost
  Building Improvements
    Gymnasium Base Cost includes HVAC                              57,521
    Sprinklers-Wet (not in Base)                                   57,521
    Elevator (1)                                                      1
      Subtotal

  Multipliers
    Current Cost                                                                 1.050
    Local Area                                                                   0.940
    Perimeter                                                                    1.000
    Building Height                                                              1.147
    Product of Multipliers                                                                    x 1.132
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                      11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                            10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                           6 Years @ 10/31/17
    Total Economic Life (Years):                                    45 Years
    Total Physical Depreciation:                                      13.3%
  Functional Obsolescence                                               0.0%
  External Obsolescence                                                 0.0%
Total                                                                 13.3%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)



Indicated Value by Cost Approach
                                    Rounded to nearest $10,000        3
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - February 2017               Section: 18    Quality: Good
                                                                 Page: 25       Class: C
                                                                 Date: 2/17     Type:    Gymnasiums (358)




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                             COST APPROACH SUMMARY: 21 - ETHINGTON THEATER
                                                                    Gross                                       Total
Replacement Cost New (RCN)                                          SqFt       $/SqFt         Total             Cost
  Building Improvements
    Live Stage Theaters Base Cost                                   7,600
    Sprinklers-Wet (not in Base)                                    3,800
    Seating (311 capacity)                                           311
    HVAC is Moderate Climate in Base cost. Upgrade to Extreme.      7,600
    Curtains                                                        2,000
       Subtotal

  Multipliers
    Current Cost                                                                 1.030
    Local Area                                                                   0.940
    Perimeter                                                                    1.000
    Building Height                                                              1.147
    Product of Multipliers                                                                     x 1.111
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                      11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                            10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                          25 Years @ 10/31/17
    Total Economic Life (Years):                                    45 Years
    Total Physical Depreciation:                                      55.6%
  Functional Obsolescence                                               0.0%
  External Obsolescence                                                 0.0%
Total                                                                 55.6%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)



Indicated Value by Cost Approach
                                    Rounded to nearest $10,000        3
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - August 2017                 Section: 16    Quality: Average
                                                                 Page: 12       Class: C
                                                                 Date: 8/17     Type:    Theaters: Live Stage




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                       COST APPROACH SUMMARY: 22 S - ANTELOPE GYMNASIUM
                                                                    Gross                              Total
Replacement Cost New (RCN)                                          SqFt       $/SqFt       Total      Cost
  Building Improvements
    Gymnasium Base Cost incl Package AC                            18,295
    Add: Load bearing sport court roof                             18,295
    HVAC is Moderate Climate in Base cost. Upgrade to Extreme.     18,295
    Sprinklers - Wet (not in base)                                 18,295
    Bleachers (2000 seat capacity)
      Subtotal

  Multipliers
    Current Cost                                                                 1.050
    Local Area                                                                   0.940
    Perimeter                                                                    1.000
    Building Height                                                              1.147
    Product of Multipliers                                                                   x 1.132
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                      11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                            10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                          23 Years @ 10/31/17
    Total Economic Life (Years):                                    40 Years
    Total Physical Depreciation:                                      57.5%
  Functional Obsolescence                                               0.0%
  External Obsolescence                                                 0.0%
Total                                                                 57.5%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)



Indicated Value by Cost Approach
                                   Rounded to nearest $10,000         3

Source: Marshall Valuation Service - February 2017               Section: 18    Quality: Average
                                                                 Page: 25       Class: C
                                                                 Date: 2/17     Type:    Gymnasiums




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                        COST APPROACH SUMMARY: 22 N - NORTH LECTURE HALL
                                                                    Gross                                Total
Replacement Cost New (RCN)                                          SqFt       $/SqFt         Total      Cost
  Building Improvements
    Lecture Hall Building Base Cost includes Package AC            18,295
    HVAC is Moderate Climate in Base cost. Upgrade to Extreme.     18,295
    Sprinklers-Wet (not in Base)                                   18,295
      Subtotal

  Multipliers
    Current Cost                                                                 1.050
    Local Area                                                                   0.940
    Perimeter                                                                    1.000
    Building Height                                                              1.000
    Product of Multipliers                                                                     x 0.987
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                      11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                            10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                          23 Years @ 10/31/17
    Total Economic Life (Years):                                    40 Years
    Total Physical Depreciation:                                      57.5%
  Functional Obsolescence                                               0.0%
  External Obsolescence                                                 0.0%
Total                                                                 57.5%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)



Indicated Value by Cost Approach
                                    Rounded to nearest $10,000        3
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - February 2017               Section: 18    Quality: Average
                                                                 Page: 28       Class: C
                                                                 Date: 2/17     Type:    Lecture Halls




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                             COST APPROACH SUMMARY: 29 - STUDENT UNION
                                                                     Gross                                   Total
Replacement Cost New (RCN)                                           SqFt       $/SqFt        Total          Cost
  Building Improvements
    Original building Base Cost                                     22,003
    North Side Addition Building Base Cost (library & rest.)        15,308
    Sprinklers-Wet (not in Base) original building                  37,311
      Add: .5% for 4th Floor of Addition
    Elevators (2)                                                      2
      Subtotal                                                      37,311

  Multipliers
    Current Cost                                                                  1.050
    Local Area                                                                    0.940
    Perimeter                                                                     1.000
    Building Height                                                               1.000
    Product of Multipliers                                                                     x 0.987
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                       11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                             10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                            3 Years @ 10/31/17
    Total Economic Life (Years):                                     50 Years
    Total Physical Depreciation:                                         6.0%
  Functional Obsolescence                                                0.0%
  External Obsolescence                                                  0.0%
Total                                                                    6.0%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)



Indicated Value by Cost Approach
                                    Rounded to nearest $10,000         3
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - November 2014                Section: 18    Quality: Average and Good
                                                                  Page: 31       Class: C
                                                                  Date: 2/13     Type:    Commons




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                COST APPROACH SUMMARY: 38 - ARENA / ANTELOPE RECEPTION CNTR.
                                                                    Gross                                  Total
Replacement Cost New (RCN)                                          SqFt       $/SqFt       Total          Cost
  Building Improvements
    Community Recreation Center Base Cost                          137,500
    Sprinklers-Wet (not in Base)                                   137,500
    HVAC is Moderate Climate in Base cost. Upgrade to Extreme.     137,500
    Elevators (2)                                                     2
    Escalators (2)                                                    2
      Subtotal

  Multipliers
    Current Cost                                                                  1.050
    Local Area                                                                    0.950
    Perimeter                                                                     1.000
    Building Height                                                               1.500
    Product of Multipliers                                                                    x 1.496
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                      11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                            10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                           5 Years @ 10/31/17
    Total Economic Life (Years):                                    45 Years
    Total Physical Depreciation:                                      11.1%
  Functional Obsolescence                                               0.0%
  External Obsolescence                                                 0.0%
Total                                                                 11.1%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)



Indicated Value by Cost Approach
                                    Rounded to nearest $10,000        3
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - February 2017               Section: 16   Quality: Good
                                                                 Page: 18      Class:   C
                                                                 Date: 2/17    Type:    Community Recreation Centers




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                                    ADDENDUM D:
                                Classroom Buildings

                                     GCU Classrooms
                                                                   10/31/2017
                                                                   Fair Value
                                                                   Conclusion
                 1 - Engineering
                 6 - Natural Sciences (Nursing/Science/Theology)
                16 - Humanities & Social Science
                18 - Media Arts Complex
                19 - Nursing & Healthcare
                24 - Fleming - College of Doctoral Studies
                33 - College of Education
                35 - College of Business
                43 - Colter - Fine Arts & Production
                57 - Technology Center (College of Education/
                          Exercise Science/Recording Studio




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                   COST APPROACH SUMMARY: 1 - ENGINEERING / HONORS COLLEGE
                                                                    Gross                                    Total
Replacement Cost New (RCN)                                          SqFt       $/SqFt         Total          Cost
  Building Improvements
    College Classrooms Base Cost                                   173,447
    Add .5% for 4th Floor                                                         1.005
      Subtotal                                                     173,447
    HVAC included is Moderate. Upgrade to Extreme Climate          173,447
    Sprinklers-Wet (not in Base)                                   173,447
    Elevators (3)                                                     3
      Subtotal

  Multipliers
    Current Cost                                                                 1.050
    Local Area                                                                   0.940
    Perimeter                                                                    1.000
    Building Height                                                              1.000
    Product of Multipliers                                                                      x 0.987
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                      11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                            10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                           1 Years @ 10/31/17
    Total Economic Life (Years):                                    45 Years
    Total Physical Depreciation:                                        2.2%
  Functional Obsolescence                                               0.0%
  External Obsolescence                                                 0.0%
Total                                                                   2.2%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)

Indicated Value by Cost Approach
                                    Rounded to nearest $10,000        3
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - February 2017               Section: 18    Quality: Average
                                                                 Page: 27       Class: C
                                                                 Date: 2/13     Type:    College (377) & Classrooms (368)




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                      COST APPROACH SUMMARY: 6 - COLLEGE OF ARTS & SCIENCES
                                                                    Gross                                    Total
Replacement Cost New (RCN)                                          SqFt       $/SqFt         Total          Cost
  Building Improvements
    College Classrooms Base Cost                                   87,314
    Add .5% for 4th Floor                                                         1.005
    Subtotal                                                       87,314
    HVAC included is Moderate. Upgrade to Extreme Climate          87,314
    Sprinklers-Wet (not in Base)                                   87,314
    Elevators (2)                                                     2
      Subtotal

  Multipliers
    Current Cost                                                                 1.050
    Local Area                                                                   0.940
    Perimeter                                                                    1.000
    Building Height                                                              1.000
    Product of Multipliers                                                                      x 0.987
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                      11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                            10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                           3 Years @ 10/31/17
    Total Economic Life (Years):                                    45 Years
    Total Physical Depreciation:                                        6.7%
  Functional Obsolescence                                               0.0%
  External Obsolescence                                                 0.0%
Total                                                                   6.7%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)



Indicated Value by Cost Approach
                                    Rounded to nearest $10,000        3
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - February 2017               Section: 18    Quality: Average
                                                                 Pg 26 & 27     Class: C
                                                                 Date: 2/17     Type:    College (377) & Classrooms (368)




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            COST APPROACH SUMMARY: 16 - COLLEGE OF HUMANITIES & SOCIAL SCIENCES
                                                                    Gross                                    Total
Replacement Cost New (RCN)                                          SqFt       $/SqFt         Total          Cost
  Building Improvements
    College Classrooms Base Cost                                   37,773
    Add .5% for 4th Floor                                                         1.005
      Subtotal                                                     37,773
    HVAC included is Moderate. Upgrade to Extreme Climate          37,773
    Sprinklers-Wet (not in Base)                                   37,773
    Elevators (2)                                                     2
      Subtotal

  Multipliers
    Current Cost                                                                 1.050
    Local Area                                                                   0.940
    Perimeter                                                                    1.000
    Building Height                                                              1.000
    Product of Multipliers                                                                     x 0.987
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                      11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                            10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                           3 Years @ 10/31/17
    Total Economic Life (Years):                                    45 Years
    Total Physical Depreciation:                                        6.7%
  Functional Obsolescence                                               0.0%
  External Obsolescence                                                 0.0%
Total                                                                   6.7%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)



Indicated Value by Cost Approach
                                    Rounded to nearest $10,000        3
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - February 2017               Section: 18    Quality: Average
                                                                 Pg 26 & 27     Class: C
                                                                 Date: 2/17     Type:    College (377) & Classrooms (368)




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                         COST APPROACH SUMMARY: 18 - MEDIA ARTS COMPLEX
                                                                    Gross                                      Total
Replacement Cost New (RCN)                                          SqFt       $/SqFt         Total            Cost
  Building Improvements
    Fine Arts Buildings Base Cost incl. HVAC                       11,900
    HVAC included is Moderate. Upgrade to Extreme Climate          11,900
    Sprinklers-Wet (not in Base)                                   11,900
      Subtotal

  Multipliers
    Current Cost                                                                 1.040
    Local Area                                                                   0.930
    Perimeter                                                                    1.000
    Building Height                                                              1.020
    Product of Multipliers                                                                     x 0.987
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                      11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                            10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                          20 Years @ 10/31/17
    Total Economic Life (Years):                                    30 Years
    Total Physical Depreciation:                                      66.7%
  Functional Obsolescence                                               0.0%
  External Obsolescence                                                 0.0%
Total                                                                 66.7%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)



Indicated Value by Cost Approach
                                    Rounded to nearest $10,000        3
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - February 2017               Section: 18    Quality: Low Cost
                                                                 Page: 20       Class: D
                                                                 Date: 2/17     Type:    Fine Arts Buildings




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                          COST APPROACH SUMMARY: 19 - COLLEGE OF NURSING
                                                                    Gross                                    Total
Replacement Cost New (RCN)                                          SqFt       $/SqFt        Total           Cost
  Building Improvements
    College Classroom Base Cost incl. HVAC                         17,922
    HVAC included is Moderate. Upgrade to Extreme Climate          17,922
    Sprinklers-Wet (not in Base)                                   17,922

  Multipliers
    Current Cost                                                                 1.050
    Local Area                                                                   0.940
    Perimeter                                                                    1.000
    Building Height                                                              1.092
    Product of Multipliers                                                                    x 1.078
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                      11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                            10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                          30 Years @ 10/31/17
    Total Economic Life (Years):                                    45 Years
    Total Physical Depreciation:                                      66.7%
  Functional Obsolescence                                               0.0%
  External Obsolescence                                                 0.0%
Total                                                                 66.7%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)



Indicated Value by Cost Approach
                                     Rounded to nearest $1,000        2
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - February 2017               Section: 18    Quality: Average
                                                                 Page: 27       Class: C
                                                                 Date: 2/17     Type:    College Classroom




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            COST APPROACH SUMMARY: 24 - FLEMING - COLLEGE OF DOCTORAL STUDIES
                                                                    Gross                                     Total
Replacement Cost New (RCN)                                          SqFt       $/SqFt        Total            Cost
  Building Improvements
    College Classroom Base Cost                                    15,107
    HVAC included is Moderate. Upgrade to Extreme Climate          15,107
    Sprinklers-Wet (not in Base)                                   15,107
      Subtotal


  Multipliers
    Current Cost                                                                 1.050
    Local Area                                                                   0.940
    Perimeter                                                                    1.000
    Building Height                                                              1.000
      Product of Multipliers                                                                  x 0.987
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                      11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                            10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                          30 Years @ 10/31/17
    Total Economic Life (Years):                                    45 Years
    Total Physical Depreciation:                                      66.7%
  Functional Obsolescence                                               0.0%
  External Obsolescence                                                 0.0%
Total                                                                 66.7%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)

Indicated Value by Cost Approach
                                    Rounded to nearest $10,000        3
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - February 2017               Section: 18    Quality: Average
                                                                 Page: 27       Class: C
                                                                 Date: 2/17     Type:    College Classrooms




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      COST APPROACH SUMMARY: 33 - COLLEGE OF EDUCATION (COE) CLASSROOM BUILDING
                                                                    Gross                                     Total
Replacement Cost New (RCN)                                          SqFt       $/SqFt        Total            Cost
  Building Improvements
    College Classrooms Base Cost                                   32,413
    HVAC included is Moderate. Upgrade to Extreme Climate          32,413
    Sprinklers-Wet (not in Base)                                   32,413
    Elevator (2)                                                      2
      Subtotal

  Multipliers
    Current Cost                                                                 1.050
    Local Area                                                                   0.940
    Perimeter                                                                    1.000
    Building Height                                                              1.000
    Product of Multipliers                                                                    x 0.987
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                      11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                            10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                           7 Years @ 10/31/17
    Total Economic Life (Years):                                    45 Years
    Total Physical Depreciation:                                      15.6%
  Functional Obsolescence                                               0.0%
  External Obsolescence                                                 0.0%
Total                                                                 15.6%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)



Indicated Value by Cost Approach
                                    Rounded to nearest $10,000        3
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - February 2017               Section: 18    Quality: Average
                                                                 Page: 27       Class: C
                                                                 Date: 2/17     Type:    College Classrooms




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                      COST APPROACH SUMMARY: 35 - COLLEGE OF BUSINESS (COB)
                                                                    Gross                                    Total
Replacement Cost New (RCN)                                          SqFt       $/SqFt        Total           Cost
  Building Improvements
    College Classroom Base Cost                                    22,418
    HVAC included is Moderate. Upgrade to Extreme Climate          22,418
    Sprinklers-Wet (not in Base)                                   22,418

      Subtotal

  Multipliers
    Current Cost                                                                 1.050
    Local Area                                                                   0.940
    Perimeter                                                                    1.000
    Building Height                                                              1.092
    Product of Multipliers                                                                    x 1.078
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                      11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                            10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                          20 Years @ 10/31/17
    Total Economic Life (Years):                                    45 Years
    Total Physical Depreciation:                                      44.4%
  Functional Obsolescence                                               0.0%
  External Obsolescence                                                 0.0%
Total                                                                 44.4%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)



Indicated Value by Cost Approach
                                     Rounded to nearest $1,000        2
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - February 2017               Section: 18    Quality: Average
                                                                 Page: 27       Class: C
                                                                 Date: 2/17     Type:    College Classroom




                                                     AR-C-0593
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         COST APPROACH SUMMARY: 43 - COLLEGE OF FINE ARTS (COLTER) & PRODUCTION
                                                                    Gross                                    Total
Replacement Cost New (RCN)                                          SqFt       $/SqFt        Total           Cost
  Building Improvements
    Administration (Office) Building Base Cost                     13,200
    HVAC included is Moderate. Upgrade to Extreme Climate          13,200
    Sprinklers-Wet (not in Base)                                   13,200
    Elevator (1)                                                      1
      Subtotal

  Multipliers
    Current Cost                                                                 1.050
    Local Area                                                                   0.940
    Perimeter                                                                    1.000
    Building Height                                                              1.000
    Product of Multipliers                                                                     x 0.987
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                      11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                            10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                          18 Years @ 10/31/17
    Total Economic Life (Years):                                    40 Years
    Total Physical Depreciation:                                      45.0%
  Functional Obsolescence                                               0.0%
  External Obsolescence                                                 0.0%
Total                                                                 45.0%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)



Indicated Value by Cost Approach
                                    Rounded to nearest $10,000        3
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - February 2017               Section: 18    Quality: Low Cost
                                                                 Page: 32       Class: C
                                                                 Date: 2/17     Type:    Administration Office Building




                                                     AR-C-0594
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       COST APPROACH SUMMARY: 57 - COLLEGE OF EDUCATION/EXERCISE SCIENCE ('STEM")
                                                                    Gross                                     Total
Replacement Cost New (RCN)                                          SqFt       $/SqFt        Total            Cost
  Building Improvements
    College Classrooms Base Cost                                   150,348
    Add .5% for 4th Floor                                                         1.005
      Subtotal                                                     150,348
    HVAC included is Moderate. Upgrade to Extreme Climate          150,348
    Sprinklers-Wet (not in Base)                                   150,348
    Elevators (2)                                                     2
      Subtotal

  Multipliers
    Current Cost                                                                 1.050
    Local Area                                                                   0.940
    Perimeter                                                                    1.000
    Building Height                                                              1.000
    Product of Multipliers                                                                    x 0.987
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                      11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                            10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                           2 Years @ 10/31/17
    Total Economic Life (Years):                                    45 Years
    Total Physical Depreciation:                                        4.4%
  Functional Obsolescence                                               0.0%
  External Obsolescence                                                 0.0%
Total                                                                   4.4%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)



Indicated Value by Cost Approach
                                    Rounded to nearest $10,000        3
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - February 2017               Section: 18    Quality: Average
                                                                 Page: 27       Class: C
                                                                 Date: 2/17     Type:    College Classrooms




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                                    ADDENDUM E:
                                Student Apartments

                                GCU Student Apartments

                                                            10/31/2017
                                                            Fair Value
                                                            Conclusion

                   17 - North Rim Apartments
                   27 - Encanto Apartments
                   28 - Roadrunner Apartments
                   41 - Agave Apartments
                   47 - Papago Apartments North
                   48A & B - Papago Apartments South
                   50 - Diamondback Apartments
                   51 - Future Apartments under constr.
                   52 - Future Apartments under constr.

                                  Sum-of-the-Retail Total




                                     0596
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                   COST APPROACH SUMMARY: Bldg. 17 - NORTH RIM APARTMENTS
                                                                    Gross                                   Total
Replacement Cost New (RCN)                                          SqFt       $/SqFt        Total          Cost
  Building Improvements
    Multiple Residence Base Cost                                    126,550
    Balconies                                                         9,720
    Add: Appliances (135 kitchens)                                      135
    Laundry Room                                                      1,400
                                                                    137,805
      Subtotal

  Multipliers
    Current Cost                                                                 1.040
    Local Area                                                                   0.930
    Perimeter                                                                    1.000
    Building Height                                                              1.000
    Product of Multipliers                                                                     x 0.967
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                      11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                            10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                          18 Years @ 10/31/17
    Total Economic Life (Years):                                    50 Years
    Total Physical Depreciation:                                      36.0%
  Functional Obsolescence                                               0.0%
  External Obsolescence                                                 0.0%
Total                                                                 36.0%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)



Indicated Value by Cost Approach
                                    Rounded to nearest $10,000        3
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - August 2016                 Section: 12    Quality: Average to Good
                                                                 Page: 16       Class: D
                                                                 Date: 8/16     Type:    Multiple Residences (352)




                                                     AR-C-0597
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                     COST APPROACH SUMMARY - Bldg. 27 - ENCANTO APARTMENTS
                                                                       Gross                               Total
Replacement Cost New (RCN)                                             SqFt       $/SqFt        Total      Cost
  Building Improvements
    Dormitory Base Shell Cost (including elevators)
    Add: .5% each per floor for 4th, 5th & 6th Floors                                1.015
      Subtotal                                                         241,705
    Sprinklers-Wet (not in Base)                                       241,705
    Add: Appliances (162 kitchens)                                         162
      Subtotal

  Multipliers
    Current Cost                                                                    1.060
    Local Area                                                                      0.930
    Perimeter                                                                       1.000
    Building Height                                                                 1.000
    Product of Multipliers                                                                       x 0.986
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                        11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                              10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                              1 Years @ 10/31/17
    Total Economic Life (Years):                                       40 Years
    Total Physical Depreciation:                                           2.5%
  Functional Obsolescence                                                  0.0%
  External Obsolescence                                                    0.0%
Total                                                                      2.5%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)



Indicated Value by Cost Approach
                                    Rounded to nearest $10,000           3
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - November 2016                  Section: 11    Quality: Average
                                                                    Page: 14       Class: D
                                                                    Date: 11/16    Type:    Dormitories




                                                        AR-C-0598
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                  COST APPROACH SUMMARY - Bldg. 28 - ROADRUNNER APARTMENTS
                                                                       Gross                               Total
Replacement Cost New (RCN)                                             SqFt       $/SqFt        Total      Cost
  Building Improvements
    Dormitory Base Shell Cost (including elevators)
    Add: .5% each per floor for 4th, 5th & 6th Floors                                1.015
      Subtotal                                                         241,705
    Sprinklers-Wet (not in Base)                                       241,705
    Add: Appliances (161 kitchens)                                         161
      Subtotal

  Multipliers
    Current Cost                                                                    1.060
    Local Area                                                                      0.930
    Perimeter                                                                       1.000
    Building Height                                                                 1.000
    Product of Multipliers                                                                       x 0.986
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                        11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                              10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                              1 Years @ 12/31/14
    Total Economic Life (Years):                                       40 Years
    Total Physical Depreciation:                                           2.5%
  Functional Obsolescence                                                  0.0%
  External Obsolescence                                                    0.0%
Total                                                                      2.5%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)



Indicated Value by Cost Approach
                                    Rounded to nearest $10,000           3
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - November 2016                  Section: 11    Quality: Average
                                                                    Page: 14       Class: D
                                                                    Date: 11/16    Type:    Dormitories




                                                        AR-C-0599
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                       COST APPROACH SUMMARY - Bldg. 41 - AGAVE APARTMENTS
                                                                       Gross                               Total
Replacement Cost New (RCN)                                             SqFt       $/SqFt        Total      Cost
  Building Improvements
    Dormitory Base Shell Cost (including elevators)
    Add: .5% each per floor for 4th, 5th & 6th Floors                                1.015
      Subtotal                                                         241,705
    Sprinklers-Wet (not in Base)                                       241,705
    Add: Appliances (161 kitchens)                                         161
      Subtotal

  Multipliers
    Current Cost                                                                    1.020
    Local Area                                                                      0.940
    Perimeter                                                                       1.000
    Building Height                                                                 1.000
    Product of Multipliers                                                                       x 0.959
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                        11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                              10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                              1 Years @ 10/31/17
    Total Economic Life (Years):                                       40 Years
    Total Physical Depreciation:                                           2.5%
  Functional Obsolescence                                                  0.0%
  External Obsolescence                                                    0.0%
Total                                                                      2.5%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)                                                                            8



Indicated Value by Cost Approach
                                    Rounded to nearest $10,000           3
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - November 2016                  Section: 11    Quality: Average
                                                                    Page: 14       Class: D
                                                                    Date: 11/16    Type:    Dormitories




                                                        AR-C-0600
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                COST APPROACH SUMMARY - Bldg. 47 - PAPAGO APARTMENTS NORTH
                                                                       Gross                               Total
Replacement Cost New (RCN)                                             SqFt       $/SqFt        Total      Cost
  Building Improvements
    Dormitory Base Shell Cost (including elevators)
      Add: .5% each per floor for 4th and 5th floors
      Subtotal - dormitory space only                                  268,025
    1st floor Student Health Center (exam rms, urgent care, etc.)        3,540
    1st floor Flex Space (admin, ofc, confer., fitness & weight)         6,717
    Sprinklers-Wet (not in Base)                                       278,282
    Add: Appliances (200 kitchens)                                         200
      Subtotal

  Multipliers
    Current Cost                                                                    1.060
    Local Area                                                                      0.930
    Perimeter                                                                       1.000
    Building Height                                                                 1.000
    Product of Multipliers                                                                       x 0.986
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                        11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                              10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                              3 Years @ 10/31/17
    Total Economic Life (Years):                                       40 Years
    Total Physical Depreciation:                                           7.5%
  Functional Obsolescence                                                  0.0%
  External Obsolescence                                                    0.0%
Total                                                                      7.5%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)



Indicated Value by Cost Approach
                                    Rounded to nearest $10,000           3
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - November 2016                  Section: 11    Quality: Average
                                                                    Page: 14       Class: D
                                                                    Date: 11/16    Type:    Dormitories




                                                      AR-C-0601
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              COST APPROACH SUMMARY: Bldg. 48 A& B - PAPAGO APARTMENTS SOUTH
                                                                     Gross                               Total
Replacement Cost New (RCN)                                           SqFt       $/SqFt        Total      Cost
  Building Improvements
    Dormitory Base Shell Cost (including elevators)
      Add: .5% each per floor for 4th and 5th floors                               1.010
    Subtotal - dormitrory space only (Bldg 48 A)                      76,502
    Mail/Fitness Center (Bldg 48 B - 2 stories on S. end)             12,912
    Sprinklers-Wet (not in Base)                                      89,414
    Add: Appliances (50 kitchens)                                         50
    Swimming Pool                                                      2,800
      Subtotal

  Multipliers
    Current Cost                                                                  1.060
    Local Area                                                                    0.930
    Perimeter                                                                     1.000
    Building Height                                                               1.000
    Product of Multipliers                                                                     x 0.986
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                      11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                            10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                            3 Years @ 10/31/17
    Total Economic Life (Years):                                     40 Years
    Total Physical Depreciation:                                         7.5%
  Functional Obsolescence                                                0.0%
  External Obsolescence                                                  0.0%
Total                                                                    7.5%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)



Indicated Value by Cost Approach
                                    Rounded to nearest $10,000         3
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - November 2016                Section: 11    Quality: Average
                                                                  Page: 14       Class: D
                                                                  Date: 11/16    Type:    Dormitories




                                                      AR-C-0602
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                 COST APPROACH SUMMARY - Bldg. 50 - DIAMONDBACK APARTMENTS
                                                                       Gross                               Total
Replacement Cost New (RCN)                                             SqFt       $/SqFt        Total      Cost
  Building Improvements
    Dormitory Base Shell Cost (including elevators)
    Add: .5% each per floor for 4th, 5th & 6th Floors                                1.015
      Subtotal                                                         274,695
    Sprinklers-Wet (not in Base)                                       274,695
    Add: Appliances (162 kitchens)                                         162
      Subtotal

  Multipliers
    Current Cost                                                                    1.060
    Local Area                                                                      0.930
    Perimeter                                                                       1.000
    Building Height                                                                 1.000
    Product of Multipliers                                                                       x 0.986
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                        11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                              10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                            0.0 Years @ 10/31/17
    Total Economic Life (Years):                                      40 Years
    Total Physical Depreciation:                                           0.0%
  Functional Obsolescence                                                  0.0%
  External Obsolescence                                                    0.0%
Total                                                                      0.0%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)



Indicated Value by Cost Approach
                                    Rounded to nearest $10,000           3
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - November 2016                  Section: 11    Quality: Average
                                                                    Page: 14       Class: D
                                                                    Date: 11/14    Type:    Dormitories




                                                        AR-C-0603
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        COST APPROACH SUMMARY - Bldg. 51 - FUTURE APARTMENTS (under construction)
                                                                       Gross                               Total
Replacement Cost New (RCN)                                             SqFt       $/SqFt        Total      Cost
  Building Improvements
    Dormitory Base Shell Cost (including elevators)
    Add: .5% each per floor for 4th, 5th & 6th Floors                                1.015
      Subtotal                                                         274,695
    Sprinklers-Wet (not in Base)                                       274,695
    Add: Appliances (162 kitchens)                                         162
      Subtotal

  Multipliers
    Current Cost                                                                    1.060
    Local Area                                                                      0.930
    Perimeter                                                                       1.000
    Building Height                                                                 1.000
    Product of Multipliers                                                                       x 0.986
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                        11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                              10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                              0 Years @ 12/31/14
    Total Economic Life (Years):                                       40 Years
    Total Physical Depreciation:                                           0.0%
  Functional Obsolescence                                                  0.0%
  External Obsolescence                                                    0.0%
Total                                                                      0.0%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)

Percentage complete on 10/31/17 per GCE Scott Doering                                                         5.20%

Indicated Value by Cost Approach
                                    Rounded to nearest $10,000           3
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - November 2016                  Section: 11    Quality: Average
                                                                    Page: 14       Class: D
                                                                    Date: 11/16    Type:    Dormitories




                                                        AR-C-0604
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         COST APPROACH SUMMARY - Bldg. 52 - FUTURE APARTMENTS (under construction)
                                                                       Gross                               Total
Replacement Cost New (RCN)                                             SqFt       $/SqFt        Total      Cost
  Building Improvements
    Dormitory Base Shell Cost (including elevators)
    Add: .5% each per floor for 4th, 5th & 6th Floors                                1.015
      Subtotal                                                         274,695
    Sprinklers-Wet (not in Base)                                       274,695
    Add: Appliances (162 kitchens)                                         162
      Subtotal

  Multipliers
    Current Cost                                                                    1.060
    Local Area                                                                      0.930
    Perimeter                                                                       1.000
    Building Height                                                                 1.000
    Product of Multipliers                                                                       x 0.986
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                        11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                              10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                              0 Years @ 10/31/17
    Total Economic Life (Years):                                       40 Years
    Total Physical Depreciation:                                           0.0%
  Functional Obsolescence                                                  0.0%
  External Obsolescence                                                    0.0%
Total                                                                      0.0%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)

Percentage complete on 10/31/17 per GCE Scott Doering                                                          0.00%

Indicated Value by Cost Approach
                                    Rounded to nearest $10,000           3
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - November 2014                  Section: 11    Quality: Average
                                                                    Page: 14       Class: D
                                                                    Date: 11/14    Type:    Dormitories




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                                     ADDENDUM F:
                                Student Dormitories

                                 GCU Student Dormitories

                                                        10/31/2017
                                                        Fair Value
                           Bldg. No. - Bldg Name        Conclusion
                          30 - Cypress or Hegel Hall
                          31 - Canyon Hall
                          36 - Prescott Hall
                          37 - Camelback Hall
                          39 - Sedona Hall
                          45 - Chaparral Hall
                          46 - Saguaro Hall
                          49 - Ocotillo Hall
                          81 - Willow Hall
                          82 - Acacia Hall w/pool
                          83 - Ironwood Hall
                          84 - Juniper Hall

                              Sum-of-the-Retail Total




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             COST APPROACH SUMMARY - Bldg. 30 - CYPRESS HALL; formerly HEGEL HALL
                                                                    Gross                               Total
Replacement Cost New (RCN)                                          SqFt       $/SqFt        Total      Cost
  Building Improvements
    Dormitory Base Cost (including elevators)                      93,076
    Sprinklers-Wet (not in Base)                                   93,076
      Subtotal

  Multipliers
    Current Cost                                                                 1.060
    Local Area                                                                   0.930
    Perimeter                                                                    1.000
    Building Height                                                              1.000
    Product of Multipliers                                                                    x 0.986
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                     11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                           10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                          14 Years @ 10/31/17
    Total Economic Life (Years):                                    35 Years
    Total Physical Depreciation:                                      40.0%
  Functional Obsolescence                                               0.0%
  External Obsolescence                                                 0.0%
Total                                                                 40.0%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)



Indicated Value by Cost Approach
                                    Rounded to nearest $10,000        3
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - November 2016               Section: 11    Quality: Average
                                                                 Page: 14       Class: D
                                                                 Date: 11/16    Type:    Dormitories




                                                     AR-C-0607
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                             COST APPROACH SUMMARY: Bldg. 31 - CANYON HALL
                                                                    Gross                               Total
Replacement Cost New (RCN)                                          SqFt       $/SqFt        Total      Cost
  Building Improvements
    Dormitory Base Cost (including elevators)                      93,076
    Sprinklers-Wet (not in Base)                                   93,076
      Subtotal

  Multipliers
    Current Cost                                                                 1.060
    Local Area                                                                   0.930
    Perimeter                                                                    1.000
    Building Height                                                              1.000
    Product of Multipliers                                                                    x 0.986
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                     11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                           10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                          14 Years @ 10/31/17
    Total Economic Life (Years):                                    35 Years
    Total Physical Depreciation:                                      40.0%
  Functional Obsolescence                                               0.0%
  External Obsolescence                                                 0.0%
Total                                                                 40.0%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)



Indicated Value by Cost Approach
                                    Rounded to nearest $10,000        3
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - November 2016               Section: 11    Quality: Average
                                                                 Page: 14       Class: D
                                                                 Date: 11/16    Type:    Dormitories




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                             COST APPROACH SUMMARY: Bldg. 36 - PRESCOTT HALL
                                                                     Gross                               Total
Replacement Cost New (RCN)                                           SqFt       $/SqFt        Total      Cost
  Building Improvements
    Dormitory Base Shell Cost (including elevators)
      Add: .5% each for 4th and 5th Floors                                         1.010
      Subtotal (dormitory space only)                                135,921
    Flex Space 1st Floor (Offices & Student Health Center SF)          9,342
    Sprinklers-Wet (not in Base)                                     145,263
      Subtotal                                                       145,263

  Multipliers
    Current Cost                                                                  1.060
    Local Area                                                                    0.930
    Perimeter                                                                     1.000
    Building Height                                                               1.000
    Product of Multipliers                                                                     x 0.986
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                      11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                            10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                            5 Years @ 10/31/17
    Total Economic Life (Years):                                     35 Years
    Total Physical Depreciation:                                       14.3%
  Functional Obsolescence                                                0.0%
  External Obsolescence                                                  0.0%
Total                                                                  14.3%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)



Indicated Value by Cost Approach
                                    Rounded to nearest $10,000         3
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - November 2016                Section: 11    Quality: Average
                                                                  Page: 14       Class: D
                                                                  Date: 11/16    Type:    Dormitories




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                         COST APPROACH SUMMARY: Bldg. 37 - CAMELBACK HALL
                                                                     Gross                               Total
Replacement Cost New (RCN)                                           SqFt       $/SqFt        Total      Cost
  Building Improvements
    Dormitory Base Shell Cost (including elevators)
      Add: .5% each for 4th and 5th Floors                                         1.010
      Subtotal (dormitory space only)                                130,906
    Restaurants/C-Store Space 1st Floor                                8,708
    Sprinklers-Wet (not in Base)                                     139,614

      Subtotal

  Multipliers
    Current Cost                                                                  1.060
    Local Area                                                                    0.930
    Perimeter                                                                     1.000
    Building Height                                                               1.000
    Product of Multipliers                                                                     x 0.986
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                      11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                            10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                            5 Years @ 10/31/17
    Total Economic Life (Years):                                     35 Years
    Total Physical Depreciation:                                       14.3%
  Functional Obsolescence                                                0.0%
  External Obsolescence                                                  0.0%
Total                                                                  14.3%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)



Indicated Value by Cost Approach
                                    Rounded to nearest $10,000         3
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - November 2016                Section: 11    Quality: Average
                                                                  Page: 14       Class: D
                                                                  Date: 11/16    Type:    Dormitories




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                             COST APPROACH SUMMARY: Bldg. 39 - SEDONA HALL
                                                                     Gross                               Total
Replacement Cost New (RCN)                                           SqFt       $/SqFt        Total      Cost
  Building Improvements
    Dormitory Base Shell Cost (including elevators)
      Add: .5% each for 4th and 5th Floors                                         1.010
      Subtotal                                                     145,441
    Sprinklers-Wet (not in Base)                                   145,441
      Subtotal

  Multipliers
    Current Cost                                                                  1.060
    Local Area                                                                    0.930
    Perimeter                                                                     1.000
    Building Height                                                               1.000
    Product of Multipliers                                                                     x 0.986
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                      11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                            10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                            5 Years @ 10/31/17
    Total Economic Life (Years):                                     35 Years
    Total Physical Depreciation:                                       14.3%
  Functional Obsolescence                                                0.0%
  External Obsolescence                                                  0.0%
Total                                                                  14.3%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)



Indicated Value by Cost Approach
                                    Rounded to nearest $10,000         3
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - November 2016                Section: 11    Quality: Average
                                                                  Page: 14       Class: D
                                                                  Date: 11/16    Type:    Dormitories




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                         COST APPROACH SUMMARY: Bldg. 45 - CHAPARRAL HALL
                                                                     Gross                               Total
Replacement Cost New (RCN)                                           SqFt       $/SqFt        Total      Cost
  Building Improvements
    Dormitory Base Shell Cost (including elevators)                  130,906
    Add: .5% each for 4th and 5th Floors                                           1.010
      Subtotal                                                       130,906
    1st Floor Flex Space (retail, office)                              8,954
    Sprinklers-Wet (not in Base)                                     139,860
    Recreational Swimming Pool                                         2,800
      Subtotal

  Multipliers
    Current Cost                                                                  1.060
    Local Area                                                                    0.930
    Perimeter                                                                     1.000
    Building Height                                                               1.000
    Product of Multipliers                                                                     x 0.986
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                      11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                            10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                            4 Years @ 10/31/17
    Total Economic Life (Years):                                     35 Years
    Total Physical Depreciation:                                       11.4%
  Functional Obsolescence                                                0.0%
  External Obsolescence                                                  0.0%
Total                                                                  11.4%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)



Indicated Value by Cost Approach
                                    Rounded to nearest $10,000         3
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - November 2016                Section: 11    Quality: Average
                                                                  Page: 14       Class: D
                                                                  Date: 11/16    Type:    Dormitory




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                             COST APPROACH SUMMARY: Bldg. 46 - SAGUARO HALL
                                                                    Gross                               Total
Replacement Cost New (RCN)                                          SqFt       $/SqFt        Total      Cost
  Building Improvements
    Dormitory Base Shell Cost (including elevators)
      Add: .5% each for 4th and 5th Floors                                       $1.01
    Subtotal - dormitory space only                                  135,921
    Sprinklers-Wet (not in Base)                                     135,921
    Flex Space 1st Floor (Dance, Classrooms)                           9,520
      Subtotal                                                       145,441

  Multipliers
    Current Cost                                                                 1.060
    Local Area                                                                   0.930
    Perimeter                                                                    1.000
    Building Height                                                              1.000
    Product of Multipliers                                                                    x 0.986
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                      11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                            10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                           4 Years @ 10/31/17
    Total Economic Life (Years):                                    35 Years
    Total Physical Depreciation:                                      11.4%
  Functional Obsolescence                                             10.0%
  External Obsolescence                                                 0.0%
Total                                                                 21.4%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)



Indicated Value by Cost Approach
                                    Rounded to nearest $10,000        3
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - November 2016               Section: 11    Quality: Average
                                                                 Page: 14       Class: D
                                                                 Date: 11/16    Type:    Dormitory




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                             COST APPROACH SUMMARY: Bldg. 49 - OCOTILLO HALL
                                                                     Gross                               Total
Replacement Cost New (RCN)                                           SqFt       $/SqFt        Total      Cost
  Building Improvements
    Dormitory Base Shell Cost (including elevators)                  135,891
      Add: .5% each for 4th and 5th Floors                                          1.01
    Subtotal - dormitory space only                                  135,891
    Flex space-1st floor study rooms, offices, laundry, etc.           9,547
    Sprinklers-Wet (not in Base)                                     145,441
      Subtotal

  Multipliers
    Current Cost                                                                  1.060
    Local Area                                                                    0.930
    Perimeter                                                                     1.000
    Building Height                                                               1.000
    Product of Multipliers                                                                     x 0.986
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                      11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                            10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                            3 Years @ 10/31/17
    Total Economic Life (Years):                                     35 Years
    Total Physical Depreciation:                                         8.6%
  Functional Obsolescence                                                0.0%
  External Obsolescence                                                  0.0%
Total                                                                    8.6%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)



Indicated Value by Cost Approach
                                    Rounded to nearest $10,000         3
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - November 2016                Section: 11    Quality: Average
                                                                  Page: 14       Class: D
                                                                  Date: 11/16    Type:    Dormitories




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                             COST APPROACH SUMMARY: Bldg. 81 - WILLOW HALL
                                                                     Gross                               Total
Replacement Cost New (RCN)                                           SqFt       $/SqFt        Total      Cost
  Building Improvements
    Dormitory Base Shell Cost (including elevators)                200,424
      Add: .5% each for 4th, 5th & 6th Floors                                      1.015
    Subtotal - 174 suite rooms/dormitories                         200,424
    Sprinklers-Wet (not in Base)                                   200,424
      Subtotal

  Multipliers
    Current Cost                                                                  1.060
    Local Area                                                                    0.930
    Perimeter                                                                     1.000
    Building Height                                                               1.000
    Product of Multipliers                                                                     x 0.986
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                      11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                            10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                            2 Years @ 10/31/17
    Total Economic Life (Years):                                     35 Years
    Total Physical Depreciation:                                         5.7%
  Functional Obsolescence                                                0.0%
  External Obsolescence                                                  0.0%
Total                                                                    5.7%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)




Indicated Value by Cost Approach
                                    Rounded to nearest $10,000         3
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - November 2016                Section: 11    Quality: Average
                                                                  Page: 14       Class: D
                                                                  Date: 11/16    Type:    Dormitories




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                             COST APPROACH SUMMARY: Bldg. 82 - ACACIA HALL
                                                                    Gross                               Total
Replacement Cost New (RCN)                                          SqFt       $/SqFt        Total      Cost
  Building Improvements
    Dormitory Base Shell Cost (including elevators)                 200,424
      Add: .5% each for 4th, 5th & 6th Floors                                     1.015
    Subtotal - 174 suite rooms/dormitories                          200,424
    Sprinklers-Wet (not in Base)                                    200,424
    Recreational swimming pool (for Bldgs 81, 82, 83 & 84)            5,500
      Subtotal

  Multipliers
    Current Cost                                                                 1.060
    Local Area                                                                   0.930
    Perimeter                                                                    1.000
    Building Height                                                              1.000
    Product of Multipliers                                                                    x 0.986
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                     11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                           10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                           2 Years @ 10/31/17
    Total Economic Life (Years):                                    35 Years
    Total Physical Depreciation:                                        5.7%
  Functional Obsolescence                                               0.0%
  External Obsolescence                                                 0.0%
Total                                                                   5.7%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)



Indicated Value by Cost Approach
                                    Rounded to nearest $10,000        3
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - November 2016               Section: 11    Quality: Average
                                                                 Page: 14       Class: D
                                                                 Date: 11/16    Type:    Dormitories




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                         COST APPROACH SUMMARY: Bldg. 83 - IRONWOOD HALL
                                                                     Gross                               Total
Replacement Cost New (RCN)                                           SqFt       $/SqFt        Total      Cost
  Building Improvements
    Dormitory Base Shell Cost (including elevators)                200,424
      Add: .5% each for 4th, 5th, & 6th Floors                                     1.015
    Subtotal - 174 suite rooms/dormitories                         200,424
    Sprinklers-Wet (not in Base)                                   200,424
      Subtotal

  Multipliers
    Current Cost                                                                  1.060
    Local Area                                                                    0.930
    Perimeter                                                                     1.000
    Building Height                                                               1.000
    Product of Multipliers                                                                     x 0.986
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                      11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                            10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                            2 Years @ 10/31/17
    Total Economic Life (Years):                                     35 Years
    Total Physical Depreciation:                                         5.7%
  Functional Obsolescence                                                0.0%
  External Obsolescence                                                  0.0%
Total                                                                    5.7%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)



Indicated Value by Cost Approach
                                    Rounded to nearest $10,000         3
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - November 2016                Section: 11    Quality: Average
                                                                  Page: 14       Class: D
                                                                  Date: 11/16    Type:    Dormitories




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                               COST APPROACH SUMMARY: Bldg. 84 - JUNIPER HALL
                                                                              Gross                               Total
Replacement Cost New (RCN)                                                    SqFt       $/SqFt        Total      Cost
  Building Improvements
    Dormitory Base Shell Cost (including elevators)                           193,038
      Add: .5% each for 4th, 5th, & 6th Floors                                              1.015
    Subtotal - 165 suite rooms/dormitory space only                           193,038
    Flex space-1st floor offices, fitness cntr, C-store, addn'l offices)        7,386
    Sprinklers-Wet (not in Base)                                              200,424
      Subtotal

  Multipliers
    Current Cost                                                                           1.060
    Local Area                                                                             0.930
    Perimeter                                                                              1.000
    Building Height                                                                        1.000
    Product of Multipliers                                                                              x 0.986
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                               11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                                     10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                                     2 Years @ 10/31/17
    Total Economic Life (Years):                                              35 Years
    Total Physical Depreciation:                                                  5.7%
  Functional Obsolescence                                                         0.0%
  External Obsolescence                                                           0.0%
Total                                                                             5.7%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)



Indicated Value by Cost Approach
                                        Rounded to nearest $10,000              3
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - November 2016                         Section: 11    Quality: Average
                                                                           Page: 14       Class: D
                                                                           Date: 11/16    Type:    Dormitories




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                                   ADDENDUM G:
                                 Parking Structures



                          GCU Parking Structures (Parkade)

                                                      10/31/2017
                                                      Fair Value
                                                      Conclusion
                        7 - 33rd Ave Parking Garage
                       15 - Halo Parking Garage
                       55 - 29th Ave & Camelback
                       80 - Grove Parking Garage




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                       COST APPROACH SUMMARY: Bldg. 7 - 33rd AVENUE GARAGE
                                                                     Gross                                    Total
Replacement Cost New (RCN)                                           SqFt       $/SqFt         Total          Cost
  Building Improvements
    Parking Structure Base (including elevators) in No. Spaces       1,590
    Less: Contractor discount for multiple bldg contract of 25%                     0.75
      Subtotal
    Add .5% for 4th story                                                         1.005
      Subtotal                                                       1,590
    Sprinklers-Wet (not in Base)                                    434,650
    Gate Arm, automatic, one way (2)                                   2
      Subtotal

  Multipliers
    Current Cost                                                                  1.040
    Local Area                                                                    0.930
    Perimeter                                                                     1.000
    Building Height                                                               1.000
    Product of Multipliers                                                                      x 0.967
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                       11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                             10.0%
  Total Replacement Cost New ( RCN )

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                            5 Years @ 10/31/17
    Total Economic Life (Years):                                     40 Years
    Total Physical Depreciation:                                       12.5%
  Functional Obsolescence                                                0.0%
  External Obsolescence                                                  0.0%
Total                                                                  12.5%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)



Indicated Value by Cost Approach
                                   Rounded to nearest $10,000          3

Source: Marshall Valuation Service - February 2016                Section: 14    Quality: Low Cost
                                                                  Page: 34       Class: B
                                                                  Date: 2/16     Type:    Parking Structures (345)




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                   COST APPROACH SUMMARY: Bldg. 15 - HALO GARAGE
                                                                     Gross                                    Total
Replacement Cost New (RCN)                                           SqFt       $/SqFt         Total          Cost
  Building Improvements
    Parking Structure Base (including elevators) in No. Spaces       1,360
    Less: Contractor discount for multiple bldg contract of 25%                     0.75
      Subtotal
    Add .5% for 4th story                                                         1.005
      Subtotal                                                       1,360
    Sprinklers-Wet (not in Base)                                    350,864
    Gate Arm, automatic, one way (4)                                   4
      Subtotal

  Multipliers
    Current Cost                                                                  1.040
    Local Area                                                                    0.930
    Perimeter                                                                     1.000
    Building Height                                                               1.000
    Product of Multipliers                                                                      x 0.967
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                       11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                             10.0%
  Total Replacement Cost New ( RCN )

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                            3 Years @ 10/31/17
    Total Economic Life (Years):                                     40 Years
    Total Physical Depreciation:                                         7.5%
  Functional Obsolescence                                                0.0%
  External Obsolescence                                                  0.0%
Total                                                                    7.5%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)

Indicated Value by Cost Approach
                                   Rounded to nearest $10,000          3

Source: Marshall Valuation Service - February 2016                Section: 14    Quality: Low Cost
                                                                  Page: 34       Class: B
                                                                  Date: 2/16     Type:    Parking Structures (345)




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               COST APPROACH SUMMARY: Bldg. 55 - 29th AVE & CAMELBACK GARAGE
                                                                     Gross                                    Total
Replacement Cost New (RCN)                                           SqFt       $/SqFt         Total          Cost
  Building Improvements
    Parking Structure Base Cost (including elevators)               511,789
    Less: Contractor discount for multiple bldg contract of 25%                     0.75
      Subtotal
    Add .5% for 4th story                                                         1.005
      Subtotal                                                      511,789
    Sprinklers-Wet (not in Base)                                    511,789
    Gate Arm, automatic, one way (2)                                   2
      Subtotal

  Multipliers
    Current Cost                                                                  1.040
    Local Area                                                                    0.930
    Perimeter                                                                     1.000
    Building Height                                                               1.000
    Product of Multipliers                                                                      x 0.967
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                       11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                             10.0%
  Total Replacement Cost New ( RCN )

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                            1 Years @ 10/31/17
    Total Economic Life (Years):                                     40 Years
    Total Physical Depreciation:                                         2.5%
  Functional Obsolescence                                                0.0%
  External Obsolescence                                                  0.0%
Total                                                                    2.5%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)

Indicated Value by Cost Approach
                                                                                                          $18,770,000

Source: Marshall Valuation Service - February 2016                Section: 14    Quality: Low Cost
                                                                  Page: 34       Class: B
                                                                  Date: 2/16     Type:    Parking Structures (345)




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                    COST APPROACH SUMMARY: Bldg. 80 - GROVE PARKING GARAGE
                                                                     Gross                                    Total
Replacement Cost New (RCN)                                           SqFt       $/SqFt         Total          Cost
  Building Improvements
    Parking Structure Base Cost (including elevators)               511,789
    Less: Contractor discount for multiple bldg contract of 25%                     0.75
      Subtotal
    Add .5% for 4th story                                                         1.005
      Subtotal                                                      511,789
    Sprinklers-Wet (not in Base)                                    511,789
    Gate Arm, automatic, one way (2)                                   2
      Subtotal

  Multipliers
    Current Cost                                                                  1.040
    Local Area                                                                    0.930
    Perimeter                                                                     1.000
    Building Height                                                               1.000
    Product of Multipliers                                                                      x 0.967
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                       11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                             10.0%
  Total Replacement Cost New ( RCN )

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                            2 Years @ 10/31/17
    Total Economic Life (Years):                                     40 Years
    Total Physical Depreciation:                                         5.0%
  Functional Obsolescence                                                0.0%
  External Obsolescence                                                  0.0%
Total                                                                    5.0%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)

Indicated Value by Cost Approach
                                   Rounded to nearest $10,000          3

Source: Marshall Valuation Service - February 2016                Section: 14    Quality: Low Cost
                                                                  Page: 34       Class: B
                                                                  Date: 2/16     Type:    Parking Structures (345)




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                                  Addendum H
                                 Other Buildings

                                GCU Other Buildings

                                                            10/31/2017
                                                            Fair Value
                                                            Conclusion
         13 - Security Booths
         32 - Facilities Boiler/Chiller Room
         34 - Tim Salmon Baseball Clubhouse
           KFC Building - N-NEC Camelback Rd. & 35th Ave.




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                             COST APPROACH SUMMARY: 13 - SECURITY BOOTHS
                                                                    Gross                                   Total
Replacement Cost New (RCN)                                          SqFt       $/SqFt        Total          Cost
  Building Improvements
    Guard House Base Cost (24 SF each x 15)                          360
    Add 35% for steel construction grade                                                             1.35
      Subtotal
    Gate Arm, automatic, one way                                     15
    Main Entrance Guard House Base Cost                              80
    Add: overhang with recessed lighting                             360
    Air Conditioning (window units)                                  15
      Subtotal

  Multipliers
    Current Cost                                                                 1.050
    Local Area                                                                   0.960
    Perimeter                                                                    1.000
    Building Height                                                              1.000
    Product of Multipliers                                                                    x 1.008
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                      11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                            10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                           3 Years @ 10/31/17
    Total Economic Life (Years):                                    20 Years
    Total Physical Depreciation:                                      15.0%
  Functional Obsolescence                                               0.0%
  External Obsolescence                                                 0.0%
Total                                                                 15.0%
Depreciated Value of the Improvements


Indicated Value by Cost Approach
                                   Rounded to nearest $10,000         3


Source: Marshall Valuation Service - March 2016                  Section: 64    Quality: Standard
                                                                 Page: 9        Class: S
                                                                 Date: 3/16     Type:    Guard Houses and Toll Booths




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                COST APPROACH SUMMARY: 32 - FACILITIES BOILER/CHILLER BUILDING
                                                                    Gross                                   Total
Replacement Cost New (RCN)                                          SqFt       $/SqFt        Total          Cost
  Building Improvements
    Maintenance (Storage) Buildings                                 2,202
    Sprinklers- wet (not in base)                                   2,202
      Subtotal

  Multipliers
    Current Cost                                                                 1.050
    Local Area                                                                   0.940
    Perimeter                                                                    1.000
    Building Height                                                              1.020
    Product of Multipliers                                                                     x 1.007
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                      11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                            10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                          25 Years @ 10/31/17
    Total Economic Life (Years):                                    30 Years
    Total Physical Depreciation:                                      83.3%
  Functional Obsolescence                                               0.0%
  External Obsolescence                                                 0.0%
Total                                                                 83.3%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)



Indicated Value by Cost Approach
                                     Rounded to nearest $5,000        2
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - February 2017               Section: 18    Quality: Average
                                                                 Page: 21       Class: C
                                                                 Date: 2/17     Type:    Maintenance (Storage) Building




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                 COST APPROACH SUMMARY: 34 -TIM SALMON BASEBALL CLUBHOUSE
                                                                    Gross                                  Total
Replacement Cost New (RCN)                                          SqFt       $/SqFt        Total         Cost
  Building Improvements
    Shower Room Buildings                                           5,488
      Subtotal                                                      5,488

  Multipliers
    Current Cost                                                                 1.040
    Local Area                                                                   0.930
    Perimeter                                                                    1.000
    Building Height                                                              1.000
    Product of Multipliers                                                                    x 0.967
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                      11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                            10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                          18 Years @ 10/31/17
    Total Economic Life (Years):                                    25 Years
    Total Physical Depreciation:                                      72.0%
  Functional Obsolescence                                               0.0%
  External Obsolescence                                                 0.0%
Total                                                                 72.0%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)



Indicated Value by Cost Approach
                                     Rounded to nearest $1,000        2
  Per Square Foot (based on gross bldg. area)
Source: Marshall Valuation Service -February 2017                Section: 18    Quality: Average
                                                                 Page: 22       Class: D
                                                                 Date: 2/17     Type:    Shower Room Buildings




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                                   COST APPROACH SUMMARY: KFC BUILDING
                                                                      Gross                                    Total
Replacement Cost New (RCN)                                            SqFt       $/SqFt        Total           Cost
  Building Improvements
    Fast Food Restaurant Base Cost - shell structure                  2,037
      Subtotal

  Multipliers
    Current Cost                                                                   1.040
    Local Area                                                                     0.930
    Perimeter                                                                      1.000
    Building Height                                                                1.000
    Product of Multipliers                                                                       x 0.967
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                        11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                              10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                            30 Years @ 10/31/17
    Total Economic Life (Years):                                      30 Years
    Total Physical Depreciation:                                       100.0%
  Functional Obsolescence                                                 0.0%
  External Obsolescence                                                   0.0%
Total                                                                  100.0%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)


Indicated Value by Cost Approach
                                     Rounded to nearest $1,000          2
  Per Square Foot (based on gross bldg. area)
Source: Marshall Valuation Service - November 2014                 Section: 13    Quality: Low Cost
                                                                   Page: 17       Class: D
                                                                   Date: 5/14     Type:    Restaurants - Fast Food




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                                   ADDENDUM I:
                       I-17 to 27th Avenue Properties

                          GCU: I-17 to 27th Ave. Properties

                                                              10/31/2017
                                                              Fair Value
                                                              Conclusion
            Bldg 67-GCU Hotel & new pool/landscaping
            Bldg 68-Canyon 49 restaurant & Hotel Lobby bldg
            Bldg 91-Facilities Warehouse
            2850 W. Camelback Offfice Building




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                                     COST APPROACH SUMMARY: GCU HOTEL
                                                                         Gross                                    Total
Replacement Cost New (RCN)                                               SqFt       $/SqFt         Total          Cost
  Building Improvements
    Limited Service Hotel Building Base Cost (including elevators)      56,580
    Sprinklers-Wet (not in Base)                                        56,580
    New outdoor Pool/Spa complex
      Subtotal

  Multipliers
    Current Cost                                                                      1.050
    Local Area                                                                        0.930
    Perimeter                                                                         1.000
    Building Height                                                                   1.000
    Product of Multipliers                                                                          x 0.977
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)                  112,430
    Pole sign on street frontage                                               1
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                          11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                                10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                               20 Years @ 10/31/17
    Total Economic Life (Years):                                         45 Years
    Total Physical Depreciation:                                           44.4%
  Functional Obsolescence                                                    0.0%
  External Obsolescence                                                      0.0%
Total                                                                      44.4%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)

Indicated Value by Cost Approach
                                        Rounded to nearest $10,000         3
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - November 2016                    Section: 11    Quality: Good
                                                                      Page: 22       Class: D
                                                                      Date: 11/16    Type:    Limited Service Hotels




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                  COST APPROACH SUMMARY: CANYON 49 & HOTEL LOBBY BUILDING
                                                                     Gross                                     Total
Replacement Cost New (RCN)                                           SqFt        $/SqFt        Total           Cost
  Building Improvements
    Sit-Down Restaurant (seating 126) & bar, and includes         12,720
       Hotel check-in reception area & lobby w/port cochere
    Exterior patio seating/covered for 52                          2,500
    Sprinklers-wet                                                12,720
    HVAC ('Moderate' climate incl. in Base))                      12,720
       Subtotal

  Multipliers
    Current Cost                                                                   1.040
    Local Area                                                                     0.940
    Perimeter                                                                      1.000
    Building Height                                                                1.000
    Product of Multipliers                                                                       x 0.978
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (including as part of Hotel Pool landscape)           1
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                      11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                            10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                            1 Years @ 10/31/17
    Total Economic Life (Years):                                     40 Years
    Total Physical Depreciation:                                         2.5%
  Functional Obsolescence                                                0.0%
  External Obsolescence                                                  0.0%
Total                                                                    2.5%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)



Indicated Value by Cost Approach
                                   Rounded to nearest $10,000         3

Source: Marshall Valuation Service - May 2016                   Section: 13       Quality: Excellent
                                                                Page: 14          Class: C
                                                                Date: 5/16        Type:    Restaurants (350)




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                      COST APPROACH SUMMARY: Bldg. 91 FACILITIES WAREHOUSE
                                                                     Gross                                  Total
Replacement Cost New (RCN)                                           SqFt       $/SqFt        Total         Cost
  Building Improvements
    Warehouse Base Cost (two adjoined concrete buildings)           12,855
    Air conditioning included in Base                               12,855
      Subtotal

  Multipliers
    Current Cost                                                                  1.060
    Local Area                                                                    0.940
    Perimeter                                                                     1.000
    Building Height                                                               1.000
    Product of Multipliers                                                                     x 0.996
  Adjusted Base Cost

  Add Site Improvements
    Fencing-perimeter wrought iron and CMU (Lineal ft.)                   782
    Paving; asphalt & concrete (Land sf less bldg.sf footprint)        12,063
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                       11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                             10.0%
  Total Replacement Cost New ( RCN )
    Per Square Foot (based on gross area)

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                           25 Years @ 10/31/17
    Total Economic Life (Years):                                     45 Years
    Total Physical Depreciation:                                       55.6%
  Functional Obsolescence                                                0.0%
  External Obsolescence                                                  0.0%
Total                                                                  55.6%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)


Indicated Value by Cost Approach
                                    Rounded to nearest $10,000         3
  Per Square Foot (based on gross bldg. area)

Source: Marshall Valuation Service - February 2016                Section: 14    Quality: Good
                                                                  Page: 26       Class: C
                                                                  Date: 2/16     Type:    Storage Warehouse (406)




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                COST APPROACH SUMMARY: 2850 W. CAMELBACK RD. OFFICE BUILDING
                                                                    Gross                                   Total
Replacement Cost New (RCN)                                          SqFt       $/SqFt         Total         Cost
  Building Improvements
    Office Building Base Cost (multi-tenant). HVAC included.       11,764
      Subtotal

  Multipliers
    Current Cost                                                                 1.020
    Local Area                                                                   0.940
    Perimeter                                                                    1.000
    Building Height                                                              1.000
    Product of Multipliers                                                                     x 0.959
  Adjusted Base Cost

  Add Site Improvements
    Paving/landscaping (Land sf less bldg.sf footprint)              22,109
  Total Direct Costs
    Plus Other Indirect Costs (% of Direct Costs)                     11.0%
  Subtotal Replacement Cost New ( RCN )
    Plus: Entrepreneurial Profit (% of RCN)                           10.0%
  Total Replacement Cost New ( RCN )

Less Accrued Depreciation
  Physical Deterioration
    Effective Age (Years):                                          47 Years @ 10/31/17
    Total Economic Life (Years):                                    50 Years
    Total Physical Depreciation:                                      94.0%
  Functional Obsolescence                                               0.0%
  External Obsolescence                                                 0.0%
Total                                                                 94.0%
Depreciated Value of the Improvements
  Per Square Foot (based on gross area)




Indicated Value by Cost Approach
                                   Rounded to nearest $10,000         3

Source: Marshall Valuation Service - November 2017               Section: 15    Quality: Average
                                                                 Page: 17       Class: C
                                                                 Date: 11/17    Type:    Office Buildings




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                           ADDENDUM J:
       Professional Qualifications of Dan A. Paulus, MAI




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